         Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 1 of 64



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


Capital Area Immigrants’ Rights Coalition,
1612 K Street NW, #204
Washington, DC 20006;

Refugee and Immigrant Center for Education
and Legal Services, Inc.,
1305 North Flores Street                              Civil Action No. 1:19-cv-02117-TJK
San Antonio, TX 78212;

Human Rights First,
805 15th Street NW, #99900
Washington, DC 20005;                                 AMENDED COMPLAINT FOR
                                                      DECLARATORY AND
J.M.M., D.L.R., Z.B.M., Y.G.C., M.Y.R.B.,             INJUNCTIVE RELIEF
K.M.V.M., W.M.R.O., C.C.R.O., and N.G.R.L.,

                        Plaintiffs,

                   v.

Donald J. Trump, in his official capacity as
President of the United States,
1600 Pennsylvania Avenue NW
Washington, DC 20500;

William Barr, in his official capacity as Attorney
General of the United States,
U.S. Department of Justice
950 Pennsylvania Avenue NW
Washington, DC 20530;

Kevin McAleenan, in his official capacity as Acting
Secretary of Homeland Security,
25 Murray Lane SW
Washington, DC 20528;

Kenneth Cuccinelli, in his official capacity as
Acting Director of U.S. Citizenship and
Immigration Services,
20 Massachusetts Avenue NW
Room 4210, MS: 2120
Washington, DC 20529;
        Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 2 of 64



Mark A. Morgan, in his official capacity as Acting
Commissioner of U.S. Customs and Border
Protection,
1300 Pennsylvania Avenue NW
MS: 1345
Washington, DC 20229;

Matthew Albence, in his official capacity as Acting
Director of Immigration and Customs
Enforcement,
500 12th Street SW
Washington, DC 20536;

James McHenry, in his official capacity as Director
of the Executive Office for Immigration Review,
U.S. Department of Justice
5107 Leesburg Pike
Falls Church, VA 22041;

U.S. Department of Justice,
950 Pennsylvania Avenue NW
Washington, DC 20530;

U.S. Department of Homeland Security,
245 Murray Lane SW
Mailstop 0485
Washington, DC 20528;

U.S. Citizenship and Immigration Services,
20 Massachusetts Avenue NW
Washington, DC 20529;

U.S. Customs and Border Protection,
1300 Pennsylvania Avenue NW
Washington, DC 20229;

U.S. Immigration and Customs Enforcement,
500 12th Street SW
Washington, DC 20536;

Executive Office for Immigration Review;
U.S. Department of Justice
5107 Leesburg Pike
Falls Church, VA 22041;

                       Defendants.


                                              2
         Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 3 of 64



                                       INTRODUCTION

       1.      Plaintiffs J.M.M., D.L.R., Z.B.M., Y.G.C., M.Y.R.B., K.M.V.M., W.M.R.O.,

C.C.R.O., N.G.R.L., Capital Area Immigrants’ Rights Coalition (“CAIR Coalition”), Refugee

and Immigrant Center for Education and Legal Services, Inc. (“RAICES”), and Human Rights

First (“HRF”) (together, “Plaintiffs”) bring this lawsuit to challenge the Government’s bar on

asylum eligibility for individuals and families entering the United States across the southern

border without first applying for protection from persecution or torture while in third countries

through which they transited en route to the United States.

       2.      Our immigration laws, consistent with the United States’ international legal

obligations, reflect Congress’s commitment to aid persons fleeing persecution who are

“physically present in the United States or who arrive[] in the United States * * * irrespective of

such alien’s status.” 8 U.S.C. § 1158(a)(1).

       3.      The Immigration and Nationality Act (“INA”) provides two exceptions under

which individuals can be prevented from seeking asylum in the United States based on their

connection with a third country: (1) where the United States has a bilateral or multilateral

agreement with a “[s]afe third country” in which the alien would have access to “a full and fair

procedure” for determining her eligibility for asylum or equivalent protections, id.

§ 1158(a)(2)(A), or (2) the alien was “firmly resettled” in another country before arriving in the

United States, id. § 1158(b)(2)(A)(vi). The only country with which the United States has a

“safe third party” agreement is Canada.

       4.      On July 16, 2019, without using the notice and comment procedures required by

the Administrative Procedure Act (“APA”), 5 U.S.C. § 553, the U.S. Executive Office for

Immigration Review (“EOIR”), Department of Justice (“DOJ”), U.S. Citizenship and



                                                3
         Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 4 of 64



Immigration Services (“USCIS”), and Department of Homeland Security (“DHS”) issued an

interim final rule entitled “Asylum Eligibility and Procedural Modifications,” 84 Fed. Reg.

33,829 (the “Rule”) that radically rewrites this statutory scheme.

       5.      The Rule creates a new third country-related exception to the INA’s presumption

of asylum eligibility for those in the United States. Under its amendments to 8 C.F.R. §§ 208.13,

1208.13, an individual who “enters, attempts to enter, or arrives in the United States across the

southern land border on or after July 16, 2019, after transiting through at least one country

outside of the alien’s country of citizenship, nationality, or last lawful habitual residence en route

to the United States, shall be found ineligible for asylum,” unless she can show that she falls

within one of three limited exceptions: (1) that she applied for protection from persecution or

torture in at least one third country and received a final judgment of denial, (2) that she satisfies

the definition of a “victim of a severe form of trafficking in persons” under 8 C.F.R. § 214.11, or

(3) that the only third countries through which she transited to the United States were, at the

time, not parties to the 1951 United Nations Convention relating to the Status of Refugees, the

1967 Protocol Relating to the Status of Refugees, or the United Nations Convention against

Torture and Other Cruel, Inhuman or Degrading Treatment of Punishment (“CAT”). 84 Fed.

Reg. 33,843.

       6.      The Rule’s amendments to 8 C.F.R. § 208.30(e)(5)(ii) subject individuals to a

higher burden to avoid removal: “If the alien is found to be an alien described in § 208.13(c),

then the asylum officer shall enter a negative credible fear determination with respect to the

alien’s intention to apply for asylum,” and proceed to place the individual into full removal

proceedings under Section 240 of the INA for consideration of her claims for withholding of

removal under Section 241(b)(3) of the INA or for protection under the CAT. 84 Fed. Reg.



                                                  4
           Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 5 of 64



33,843-33,844. Either form of relief requires the individual to establish a “reasonable fear of

persecution or torture,” rather than a credible fear, subject to limited review under the same

“reasonable fear” standard by an immigration judge. 84 Fed. Reg. 33,843-33,844 (amending 8

C.F.R. § 208.30(e)(5)(ii)).

          7.    The Rule intentionally operates to strip asylum eligibility from many of those who

need it most: migrants fleeing persecution and violence across the southern border of the United

States.    Such asylum seekers are disproportionately comprised of women, children, LGBT

individuals, and other vulnerable populations at risk of violence in their home countries.

          8.    Plaintiffs respectfully ask the Court to issue an order declaring that the Rule

violates the INA, the APA, and the Constitution, and enjoining its enforcement and

implementation across the United States.

                                 JURISDICTION AND VENUE

          9.    This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because

this action arises under the U.S. Constitution, the INA, the APA, and other federal statutes.

          10.   The Court is authorized to award the requested declaratory and injunctive relief

under the Declaratory Judgment Act, 28 U.S.C. §§ 2201-2202; the APA, 5 U.S.C. § 706; the

Mandamus and Venue Act, 28 U.S.C. § 1361; Rules 23, 57, and 65 of the Federal Rules of Civil

Procedure (“Federal Rules”); and the Court’s inherent equitable powers.

          11.   Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b)(2), (e)(1). Upon

information and belief, a substantial part of the events giving rise to this claim occurred in this

District, including the decision to implement the policy changes challenged in this action.

          12.   Each individual Defendant also is an officer of the United States sued in his or her

official capacity, and the majority of Defendants reside in this District.



                                                  5
         Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 6 of 64



                                           PARTIES

                                             J.M.M.

       13.       Plaintiff J.M.M. is a young woman from El Salvador seeking asylum in the

United States. J.M.M. fled El Salvador in May 2018 and Mexico in July 2019 after years of

threats, beatings, and sexual abuse from members of MS-13. In early 2017, a member of MS-13

began extorting J.M.M. The gang member threatened to hurt J.M.M.’s brother if she could not

pay him. After four months of extortion, the gang member began to sexually assault J.M.M. He

continued to rape and beat J.M.M. once a week for a year. J.M.M. never reported the extortion,

threats, or sexual assaults to the police because the police are associated with MS-13; J.M.M. has

witnessed the police refuse to arrest gang members.

       14.       In May of 2018, J.M.M. fled El Salvador for Mexico to escape abuse from MS-

13. Nevertheless, members of MS-13 found her in Mexico in the summer of 2019. Two gang

members grabbed J.M.M. by the hair and beat her. They told her that they had J.M.M.’s and her

brother’s information, and that they would find her wherever she was hiding. J.M.M. then fled

Mexico for the United States.

       15.       J.M.M. entered the United States without inspection on July 16, 2019 and was

quickly detained by U.S. immigration officials.

       16.       On July 22, 2019, J.M.M. underwent a credible fear interview by an asylum

officer and received a negative determination because she was barred under the Rule.

       17.       On July 30, 2019, an immigration judge reversed the negative credible fear

determination.

       18.       As of August 6, 2019, J.M.M. has not received a notice to appear (“NTA”) for a

removal hearing under section 240 of the INA.



                                                  6
          Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 7 of 64



                                              D.L.R.

       19.     Plaintiff D.L.R. is a young woman from Cuba seeking asylum in the United

States. D.L.R. fled Cuba in June 2019 after being persecuted by the Cuban government for her

opposition to communism.

       20.     In 2015, the Cuban Revolutionary Defense Committee (“CDR”) began to target

D.L.R. because she refused to participate in the CDR’s meetings while she was at university due

to her anti-communist beliefs. The CDR sent D.L.R. five subpoenas to appear at meetings in

four months. The CDR also searched her house for “counter-revolutionary” evidence. When

D.L.R. finally appeared at a CDR meeting, CDR officials told D.L.R. that she needed to begin

supporting the CDR.

       21.     Throughout the next few years, the CDR continued to harass D.L.R. When the

father of her daughter, who also opposes the CDR, visited her and her family in 2017, the CDR

interrogated D.L.R. about why he had visited and whether he had given her counter-

revolutionary information. In 2018, D.L.R.’s daughter’s preschool teacher told D.L.R. that her

daughter’s school life would be more difficult if D.L.R. continued to oppose the CDR.

       22.     The CDR’s persecution escalated in 2019. The police arrested D.L.R. when she

refused to vote in a constitutional election held earlier this year. In May 2019, the police arrested

D.L.R. for refusing to participate in CDR meetings. A few weeks later, the police assaulted

D.L.R. At that point D.L.R. decided to flee Cuba.

       23.     D.L.R. traveled through Nicaragua, Honduras, Guatemala, and Mexico before

entering the United States.

       24.     D.L.R. presented at a United States port of entry on July 17, 2019 and requested

asylum.



                                                 7
           Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 8 of 64



        25.      On July 21, 2019, D.L.R. underwent a credible fear interview by an asylum

officer and received a negative determination.

        26.      On July 30, 2019, an immigration judge reversed the negative credible fear

determination.

        27.      As of August 6, 2019, D.L.R. has not received a NTA.

                                             Z.B.M.

        28.      Plaintiff Z.B.M. is a young woman from Angola seeking asylum in the United

States. Z.B.M. fled Angola in February 2019 after men kidnapped and attacked her because of

her religion—Jehovah’s Witness—and her membership in the Bakongo tribe. Three men, whom

Z.B.M. believes were police officers, bound Z.B.M. with rope and drove her far from home.

Holding a gun to Z.B.M.’s head, the men beat Z.B.M. with a metal rod and threatened to kill her.

The men said they had been sent to kidnap Z.B.M. by a local police officer from a different tribe

who did not like Z.B.M.’s religion or her tribe. The next day, the attackers called Z.B.M. and

told her she had 24 hours to leave Angola. The men threatened to kill her if she did not flee the

country.

        29.      Z.B.M. decided to flee Angola the day after the attack. She fled to Ecuador and

then crossed through Columbia, Panama, Costa Rica, Nicaragua, Honduras, Guatemala, and

Mexico before reaching the United States. On her journey Z.B.M. was robbed and saw people

killed or injured.

        30.      Z.B.M. entered the United States without inspection on July 16, 2019 and was

quickly detained by U.S. immigration officials.

        31.      On July 21, 2019, Z.B.M. underwent a credible fear interview by an asylum

officer and received a negative determination.



                                                  8
             Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 9 of 64



        32.      On July 26, 2019, an immigration judge reversed the negative credible fear

determination.

        33.      On or after July 29, 2019, the Department of Homeland Security issued Z.B.M. a

document styled as a NTA. The document did not include a date or time for a hearing.

                                               Y.G.C.

        34.      Plaintiff Y.G.C. is a young woman from Guatemala seeking asylum in the United

States. In May 2019, a man whom Y.G.C. believes is a gang member began threatening her

while she worked nights at a taco stand. The man would follow Y.G.C. and threatened to kill her

if she did not agree to be “his woman.” The man also threatened that he would kill any other

man seen with Y.G.C. In addition to these threats, the suspected gang member wanted Y.G.C. to

extort her boss.

        35.      Y.G.C. attempted to file a criminal complaint against the man threatening her, but

multiple police officers told Y.G.C. that they could not help her because she did not know the

man’s real name—just the nickname he told her to call him. Because the man continued to

threaten Y.G.C. after she attempted to file a complaint with the police, Y.G.C. fled Guatemala in

June 2019.

        36.      Y.G.C. traveled through Mexico en route to the United States. She entered the

United States without inspection on July 16, 2019 and was quickly detained by U.S. immigration

officials.

        37.      On July 21, 2019, Y.G.C. underwent a credible fear interview by an asylum

officer and received a negative determination.

        38.      On July 29, 2019, an immigration judge reversed the negative credible fear

determination.



                                                 9
         Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 10 of 64



       39.     On or after July 31, 2019, the Department of Homeland Security issued Y.G.C. a

document styled as a NTA. The document did not include a date or time for a hearing.

                                             M.Y.R.B.

       40.     Plaintiff M.Y.R.B. is a young woman from Guatemala seeking asylum in the

United States. M.Y.R.B. and her four-year-old son, B.R.B., fled Guatemala in July 2019 because

she faced extortion from the Barrio 18 gang and because she was discriminated against for being

an indigenous woman.

       41.     In April 2019, the Barrio 18 gang began extorting M.Y.R.B. Gang members told

her that if she could not pay their weekly extortion, they would kill both her and her son. The

gang continually raised the price; by the end of June, the extortion had increased from 500

quetzals to 25,000 quetzals. M.Y.R.B. and her son fled Guatemala once Barrio 18 realized she

could no longer pay.

       42.     M.Y.R.B. could not report the extortion to the police because Barrio 18 members

told her they would kill her if she went to the police. M.Y.R.B. believes the gang would follow

through on that threat, as the gang killed her neighbor’ son after the neighbor reported the gang’s

extortion to the police.

       43.     M.Y.R.B. also faced racial discrimination in Guatemala.         M.Y.R.B. received

constant insults and societal rejection because she is an indigenous woman. Multiple times the

discrimination escalated to physical violence. For example, people pushed M.Y.R.B. towards

the back of the bus and threw a plate of food in her face.

       44.     M.Y.R.B. did not apply for asylum in Mexico because her journey through

Mexico to the United States was a perilous one. Once, a group of armed police officers stopped

M.Y.R.B.’s bus and demanded payment before letting the bus leave. M.Y.R.B. gave the police



                                                10
         Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 11 of 64



all of her money because she was afraid. Another time, a man sexually assaulted her and

threatened to beat her family if she reported the assault.

       45.     M.Y.R.B. entered the United States without inspection on July 17, 2019 and was

quickly detained by U.S. immigration officials.

       46.     On July 23, 2019, M.Y.R.B. underwent a credible fear interview by an asylum

officer on behalf of herself and her son and received a positive determination.

       47.     As of August 6, 2019, M.Y.R.B. and her son have not received NTAs.

                                             K.M.V.M.

       48.     Plaintiff K.M.V.M. is a young woman from Honduras seeking asylum in the

United States for herself and her six-year-old daughter.       K.M.V.M. and her daughter fled

Honduras in June 2019 after being repeatedly threatened by gang members. Last year, a violent

gang took up residence in K.M.V.M.’s hometown. The town has no police presence. The

community looked to K.M.V.M.’s brothers for aid in controlling the gang because her brothers

were members of the military. The brothers alerted the police to the gang activity. The police

visited the town twice, but did nothing else. The gang received news that the increased police

attention was due to K.MV.M.’s brothers, and threatened her brothers, telling them that the gang

has “the power to make anyone [it] want[s] disappear, wherever” and that the gang will “go[ ]

after what” the brothers care about the most. Gang members also showed up at K.M.V.M.’s

place of work, asking after K.M.V.M. and her mother by name.

       49.     K.M.V.M., her parents, and her daughter then moved to another town in

Honduras. While there, they heard that the gang was still looking for them. They alerted the

police, who agreed that they were in danger but told them there was nothing the police could do

to protect them.



                                                  11
         Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 12 of 64



       50.     K.M.V.M. then fled with her daughter to the United States. She traveled through

Guatemala and Mexico, and did not stop there because she believes the gang could reach her in

either of those countries.

       51.     K.M.V.M. and her daughter entered the United States on July 17, 2019 and were

quickly detained by U.S. immigration officials.

       52.     On July 24, 2019, K.M.V.M. underwent a credible fear interview of behalf of

herself and her daughter. She received a negative credible fear determination.

       53.     On August 5, 2019, an immigration judge overturned that negative determination.

       54.     K.M.V.M. and her daughter remain detained at the South Texas Family

Residential Center.

                                     W.M.R.O. and C.C.R.O.

       55.     Plaintiffs W.M.R.O. and C.C.R.O. are unaccompanied minors from Honduras

seeking asylum in the United States. W.M.R.O. and his twin sister, C.C.R.O., fled Honduras in

June 2019 after being threatened by two men in their community. W.M.R.O.’s and C.C.R.O.’s

older brother is gay, and is not accepted by Honduran society as a result. A few months prior to

their departure from Honduras, two men came to their home and threatened W.M.R.O.,

C.C.R.O., and their family. The two men attempted to enter the home but were not permitted to

do so. Instead they yelled through the door that because W.M.R.O.’s and C.C.R.O’s older

brother was gay, that they would kill his family, their descendants, and finally him.

       56.     In June 2019, W.M.R.O. and C.C.R.O. fled Honduras to escape the death threats.

They traveled through Guatemala and Mexico en route to the United States.




                                                  12
        Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 13 of 64



       57.     W.M.R.O and C.C.R.O. entered the United States without inspection on July 16,

2019 and were quickly detained by U.S. immigration officials.           They were classified as

unaccompanied minors and transferred to the custody of the Office of Refugee Resettlement.

       58.     Both W.M.R.O. and C.C.R.O. intend to apply for asylum.

       59.     On July 18, 2019, the Department of Homeland Security issued W.M.R.O. and

C.C.R.O. documents styled as NTAs. Neither document contains a date or time for a hearing.

                                               N.G.R.L.

       60.     Plaintiff N.G.R.L. is an unaccompanied minor from Honduras seeking asylum in

the United States. N.G.R.L. fled Honduras in May 2019 after being raped and threatened by her

stepfather. Approximately two years ago, N.G.R.L.’s stepfather raped her. In September 2018,

N.G.R.L.’s sister committed suicide and left a note saying her stepfather had gotten her pregnant.

After her sister’s suicide, N.G.R.L. filed a police report which resulted in her stepfather being

held in jail for approximately three months. After his release in May 2019, he threatened

N.G.R.L., telling her that she would regret reporting him to the police, that what happened to her

sister will also happen to her, and that he will continue raping her.

       61.     N.G.R.L. fled Honduras shortly thereafter. She traveled through Guatemala and

Mexico en route to the United States. N.G.R.L. remained in Mexico for approximately one

month; however, she did not feel safe there.

       62.     On July 24, 2019, N.G.R.L. presented at a port of entry in the United States and

was detained by U.S. immigration officials. She was classified as an unaccompanied minor and

transferred to the custody of the Office of Refugee Resettlement.




                                                 13
        Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 14 of 64



       63.     N.G.R.L. intends to apply for asylum. On July 24, 2019, the Department of

Homeland Security issued N.G.R.L. a document styled as a NTA. The document does not

include a date or time for a hearing.

                                          CAIR Coalition

       64.     Plaintiff CAIR Coalition is a 501(c)(3) nonprofit legal services and advocacy

organization with its principal place of business in the District of Columbia. CAIR Coalition

provides direct legal services to migrant men, women, and children at risk of detention and

deportation in the Washington, DC metropolitan area and beyond, including with respect to

credible fear interviews in the course of removal procedures, asylum applications, and

adversarial proceedings in immigration courts. The organization also engages in impact and

advocacy work related to immigration and trains and supervises pro bono attorneys.

                                             RAICES

       65.     Plaintiff RAICES is a 501(c)(3) nonprofit legal services and advocacy

organization with offices in San Antonio, Austin, Corpus Christi, Dallas, Fort Worth, and

Houston, Texas. Founded in 1986 as the Refugee Aid Project, RAICES has grown to become

the largest immigration legal services provider in Texas.             The organization provides

consultations and direct legal services to immigrants and refugees in Texas, as well as to clients

after they leave the state. In 2017 alone, RAICES closed 51,000 cases at no cost to its clients.

                                        Human Rights First

       66.     Plaintiff HRF, formerly known as the Lawyers Committee for Human Rights, is a

nonpartisan 501(c)(3) nonprofit international human rights organization with offices in New

York City and Washington, DC. HRF has worked since 1978 to promote fundamental human

rights and protect refugees’ rights. HRF grounds its refugee protection work in the standards set



                                                14
        Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 15 of 64



forth in the 1951 Convention Relating to the Status of Refugees, the 1967 Protocol Relating to

the Status of Refugees, the CAT, and other international human rights instruments.

                                           Defendants

       67.     Defendant Donald J. Trump is the President of the United States. In that capacity,

he directs and oversees the activities of the executive agencies that have promulgated and seek to

implement the Rule. He is sued in his official capacity.

       68.     Defendant William Barr is sued in his official capacity as Attorney General of the

United States. The Attorney General is responsible for administering the U.S. immigration laws

pursuant to 8 U.S.C. § 1103, and has the authority to grant noncitizens asylum and other relief.

He also directs each of the component agencies within DOJ. Defendant Barr was Attorney

General when DOJ issued the Rule challenged in this action, and approved it in the form in

which it was published in the Federal Register.

       69.     Defendant Kevin McAleenan is sued in his official capacity as the Acting

Secretary of Homeland Security. In that capacity, he is responsible for administering the U.S.

immigration laws pursuant to 8 U.S.C. § 1103, has the authority to grant noncitizens asylum and

other relief, and approved the Rule challenged in this action. He also directs each of the

component agencies within Defendant DHS. Defendant McAleenan held this position at the

time Defendant DHS issued the Rule challenged in this action.

       70.     Defendant Kenneth Cuccinelli is sued in his official capacity as the Acting

Director of USCIS. In that capacity, he is responsible for overseeing asylum officers who

adjudicate applicants’ asylum claims, including by conducting “credible fear” interviews

pursuant to 8 U.S.C. § 1225(b)(1)(B). Defendant Cuccinelli held this position at the time

Defendant USCIS issued the Rule challenged in this action.



                                                  15
           Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 16 of 64



          71.   Defendant Mark A. Morgan is sued in his official capacity as the Acting

Commissioner of U.S. Customs and Border Protection (“CBP”). In that capacity, he oversees the

agency responsible for securing U.S. borders with respect to trade, immigration, and agricultural

protection. Defendant Sanders held this position at the time the Rule challenged in this action

was issued.

          72.   Defendant Mathew Albence is sued in his official capacity as the Acting Director

of U.S. Immigration and Customs Enforcement (“ICE”). In that capacity, he is responsible for

civil and criminal enforcement of federal laws governing border control, customs, trade, and

immigration. Defendant Albence held this position at the time the Rule challenged in this action

was issued.

          73.   Defendant James McHenry is sued in his official capacity as the Director of

EOIR. In that capacity, he is responsible for the sub-agency of DOJ that conducts limited review

of negative credible fear determinations made pursuant to 8 U.S.C. § 1225(b)(1)(B). Defendant

McHenry held this position at the time Defendant EOIR issued the Rule challenged in this

action.

          74.   Defendant DOJ is a cabinet-level department of the federal government

responsible for enforcement of the laws of the United States. It issued the Rule challenged in

this case.

          75.   Defendant DHS is a cabinet-level department of the federal government

responsible for enforcing the immigration laws of the United States. Its component sub-agencies

include Defendants USCIS, CBP, and ICE. It issued the Rule challenged in this case.




                                               16
         Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 17 of 64



        76.    Defendant USCIS is the sub-agency of DHS responsible for conducting

interviews of asylum applicants through its asylum officers. It issued the Rule challenged in this

case.

        77.    Defendant CBP is the sub-agency of DHS responsible for the initial processing

and detention of noncitizens who are apprehended at or near U.S. borders. In that capacity, it

will implement the Rule challenged in this case.

        78.    Defendant ICE is the sub-agency of DHS responsible for carrying out removal

orders and overseeing immigration detention in the United States. In that capacity, it will

implement the Rule challenged in this case.

        79.    Defendant EOIR is a sub-agency of DOJ. See 28 C.F.R. § 0.115. It is responsible

for conducting limited review of negative credible fear determinations made pursuant to 8 U.S.C.

§ 1225(b)(1)(B). It also issued the Rule challenged in this case.

                                        BACKGROUND

                 Asylum Protections under International and Domestic Law

        80.    Under existing federal law, and consistent with the United States’ international

legal obligations, individuals fleeing persecution and violence are entitled to pursue several

forms of legal protection in the United States.

        81.    These forms of protection include (1) asylum, 8 U.S.C. § 1158; (2) withholding of

removal, 8 U.S.C. § 1231(b)(3); and (3) protection under the CAT, see Foreign Affairs Reform

and Restructuring Act of 1998 (“FARRA”), Pub. L. No. 105-277, div. G, Title XXII, § 2242,

112 Stat. 2681, 2681-822 (1998) (codified as Note to 8 U.S.C. § 1231); 8 C.F.R. § 208.18.

        82.    Modern asylum procedures initially were established in the Refugee Act of 1980,

Pub. L. 96-212, 94 Stat. 102, which revised the INA’s procedures for admission of refugees and



                                                  17
        Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 18 of 64



announced that “it is the policy of the United States to encourage all nations to provide assistance

and resettlement opportunities to refugees to the fullest extent possible,” id. § 101(a) (codified as

Note to 8 U.S.C. § 1521).

       83.     In creating the asylum provisions, Congress sought to bring the United States into

compliance with its international obligations under the 1967 United Nations Protocol Relating to

the Status of Refugees and the 1951 Convention Relating to the Status of Refugees. These and

other international treaties reflect the United States’ obligations to permit refugees to seek

asylum in its borders, to impose no penalties on asylum seekers based on their unlawful status,

and to prevent the return (or “refoulement”) of individuals to countries where they would face

persecution or torture.

       84.      It is a widely accepted principle of international refugee law that “asylum should

not be refused solely on the ground that it could be sought from another State.” UNHCR Exec.

Comm., Refugees Without an Asylum Country, Conclusion No. 15(h)(iv) (XXX) Oct. 16,

1979).1 The U.N. High Commissioner on Refugees has stated that before transferring asylum-

seekers to another country, a state “needs to guarantee that each asylum-seeker” will receive

basic protections, including “access to fair and efficient procedures for the determination of

refugee status,” “protect[ion] against refoulement,” and an “individual[ized] assesss[ment] as to

the appropriateness of the transfer.” UNHCR, Guidance Note on bilateral and/or multilateral

transfer arrangements of asylum seekers ¶ 3(vi) (May 2013) (emphasis added).

       85.     “Congress imbued these international commitments with the force of law when it

enacted the Refugee Act of 1980,” and when it subsequently passed the Illegal Immigration

Reform and Immigrant Responsibility Act of 1996, Pub. L. No. 104-208, 110 Stat. 3009, “which

1
  Available at https://www.unhcr.org/en-us/excom/exconc/3ae68c960/refugees-asylum-country.
html.

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        Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 19 of 64



refashioned the above principles into their current form” in the INA. R-S-C v. Sessions, 869 F.3d

1176, 1178 (10th Cir. 2017). This “refashioning” in the INA included the modern prohibition on

withholding of removal as to individuals threatened on account of race, religion, nationality,

social group membership, or political opinion, 8 U.S.C. § 1231(b)(3)(A), 8 C.F.R. § 1208.16,

and the guarantee that all noncitizens may apply for asylum on the same grounds, 8 U.S.C.

§ 1158(a)(1). See R-S-C, 869 F.3d at 1178.

       86.     As set forth above, 8 U.S.C. § 1158(a)(1) provides that “[a]ny alien who is

physically present in the United States or who arrives in the United States * * * irrespective of

such alien’s status, may apply for asylum in accordance with this section or, where applicable,

section 1225(b) of this title.” 8 U.S.C. § 1158(a)(1).

       87.     Asylum may be granted to an individual who has a “well-founded fear of

persecution” on the same five grounds enumerated in our international agreements: “race,

religion, nationality, membership in a particular social group, or political opinion.” 8 U.S.C.

§ 1158(b)(1)(A); id. § 1101(a)(42)(A).

       88.     An applicant’s testimony is sufficient to sustain her burden to prove such well-

founded fear without corroboration if it “is credible, is persuasive, and refers to specific facts”

sufficient to demonstrate that asylum may be warranted. Id. § 1158(b)(1)(B)(ii). A ten percent

chance of harm is sufficient to establish a “well-founded fear.” Cardoza-Fonseca, 480 U.S. at

440; see, e.g., Bartolome v. Sessions, 904 F.3d 803, 809 (9th Cir. 2018).




                                                19
         Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 20 of 64



       89.     There are three principal ways in which individuals may seek asylum:

               a.      First, where a noncitizen is not in any kind of removal proceedings, her

application is “affirmative.” See 8 C.F.R. § 208.2(a). She files an application with Defendant

USCIS and has an interview with an asylum officer. Id. §§ 208.3, 208.4, 208.9.

               b.      Second, a noncitizen in ordinary removal proceedings under INA § 240, 8

U.S.C. § 1229a, may file a “defensive” application in order to prevent her removal, 8 C.F.R.

§ 208.2(b).

               c.      Third, a noncitizen in “expedited removal” proceedings under INA § 235,

8 U.S.C. § 1225—which apply to certain noncitizens who present at ports of entry or are

apprehended after entering without inspection, see id. § 1225(b)(1)2—also may seek asylum to

prevent her removal. If the individual indicates an intention to apply for asylum or a fear of

persecution during the expedited removal process, she is entitled to a “credible fear” screening

interview with an asylum officer. Id. § 1225(b)(1)(B). If the officer finds she has a “credible

fear of persecution,” defined as a “significant possibility” that the alien could establish eligibility

for asylum, she is then placed in ordinary removal proceedings under INA § 240 and permitted

to apply for asylum as part of that process. Id.; 8 C.F.R. § 208.30(f). If the officer finds that the

individual does not have a credible fear, the officer must provide her with a written notice of

decision for review by an immigration judge. 8 C.F.R. § 208.30(g).

       90.     Withholding of removal separately offers protection to individuals facing

persecution on the same five grounds for which asylum is available (race, religion, nationality,

membership in a particular social group, or political opinion), 8 U.S.C. § 1231(b)(3)(A), and the



2
  See also Designating Aliens for Expedited Removal, 69 Fed. Reg. 48,877 (Aug. 11, 2004)
(expedited removal applies to those who entered without inspection and are apprehended within
14 days of entry and 100 miles of the border).

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        Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 21 of 64



domestic implementing legislation for the CAT offers individuals protection against return to

countries where they are likely to be tortured,3 see Foreign Affairs Reform and Restructuring Act

of 1998, Pub. L. No. 105–277, § 2242(b) (requiring implementation of CAT); 8 C.F.R. § 208.18.

       91.     Noncitizens may obtain withholding of removal and CAT relief in different ways,

each of which is defensive:

               a.     Noncitizens can raise withholding of removal and CAT relief as defenses

to ordinary removal proceedings. See 8 U.S.C. § 1231(b)(3). The applicant must demonstrate

that it “is more likely than not that he would be subject to persecution on one of the [protected]

grounds.” Ling Huang v. Holder, 744 F.3d 1149, 1152 (9th Cir. 2014). Similarly, to obtain

CAT relief, an applicant must demonstrate that it is “more likely than not that he or she would be

would be tortured if removed to the proposed country of removal.” 8 C.F.R. § 1208.16(c)(2).

               b.     Alternatively, Defendant DHS has provided by regulation that aliens who

are ordered removed because they committed aggravated felonies, 8 U.S.C. § 1228, or whose

removals are reinstated because they entered unlawfully after a valid removal order, 8 U.S.C.

§ 1231, may avoid removal by showing a “reasonable fear” of persecution.                8 C.F.R.

§§ 208.31(b), 1280.31(b). To establish such a “reasonable fear” an individual must establish “a

reasonable possibility that he or she would be persecuted on account of his or her race, religion,

nationality, membership in a particular social group or political opinion, or a reasonable

possibility that he or she would be tortured in the country of removal.” Id. §§ 208.31(c),




3
  The Government has recognized that “[f]ewer than 1,000 aliens per year, of any nationality,
receive CAT protection.” 83 Fed. Reg. 55,947.

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        Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 22 of 64



1208.31(c).4 Individuals who show such a reasonable fear are referred to an immigration judge

for full consideration of withholding of removal. Id. §§ 208.31(e), 1208.31(e).5

       92.      There is no “reasonable fear” screening process for noncitizens subject to

expedited removal. Such noncitizens only need to show a “credible fear” of persecution or

torture to advance to proceedings under INA § 240, in which they may raise claims for asylum,

withholding of removal, or CAT relief.

       93.      The INA imposes eligibility restrictions on asylum that it does not impose on

withholding of removal and CAT relief. See 8 U.S.C. § 1158(b)(1)(A).

       94.      Congress made a number of benefits available to those who obtain asylum,

including a path to U.S. citizenship, id. § 1427(a), and status adjustment from asylee to legal

permanent resident, id. § 1159(b).

       95.      The spouse and children of a person eligible for asylum likewise are derivatively

eligible for asylum. Id. § 1158(b)(3)(A).

       96.      Asylees also are exempt from removal, id. § 1158(c)(1)(A), may obtain

employment authorization in the United States, id. § 1158(c)(1)(B), may travel abroad without

the Government’s advance consent, id. § 1158(c)(1)(C), and may obtain public benefits, id.

§ 1613(b)(1).

4
  “‘[T]he standard for showing entitlement to these forms of protection (a probability of
persecution or torture)’” thus “‘is significantly higher than the standard for asylum (a well-
founded fear of persecution).’” 83 Fed. Reg. 55,942 (quoting Regulations Concerning the CAT,
64 Fed. Reg. 8,485); see also id. (“‘This . . . screening process is modeled on the credible-fear
screening process, but requires the alien to meet a higher screening standard.’”).
5
  If an asylum officer concludes that the individual does not present a reasonable fear and
requests further review, an immigration judge performs a brief de novo review of the asylum
officer’s decision. 8 C.F.R. §§ 208.31(g), 1208.31(g); Immigration Court Practice Manual,
ch. 7.4(e)(iv)(E). If the immigration judge concurs with the asylum officer, the case is returned
to DHS for the individual’s removal without further administrative appeal. 8 C.F.R.
§§ 208.31(g)(1), 1208.31(g)(1). If the immigration judge disagrees, an application for
withholding of removal and CAT relief is permitted. Id. §§ 208.31(g)(2), 1208.31(g)(2).

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        Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 23 of 64



       97.    These status adjustment and family eligibility benefits are not available in

connection with other forms of relief for those fleeing persecution and violence, such as

withholding of removal and CAT protection.

              Individuals and Families Seeking Asylum at the Southern Border

       98.      Those who arrive at the southern border seeking asylum in the United States

often are fleeing some of the most dangerous countries in the world. Many hail from El

Salvador, Guatemala, and Honduras, often referred to collectively as the “Northern Triangle.”

       99.      According to the Government’s own findings in the Rule, 60% of the alien

population crossing the border, and an “overwhelming majority” of those claiming fear of return

to their home countries, are non-Mexican. 84 Fed. Reg. 33,838.

       100.      In FY2000, public statistics indicate that 98% of individuals apprehended at the

southern border were Mexican. By FY2018, 52% of apprehensions were of individuals from the

Northern Triangle.6

       101.     Between January 2018 and July 15, 2019, 60% of CAIR Coalition’s intakes of

adults were for individuals from the Northern Triangle. Fewer than 15% of individuals were

from Mexico. Almost 94% of the children for which CAIR Coalition conducted intakes during

the same time period were from the Northern Triangle.

       102.     According to a recent report from the United Nations High Commissioner for

Refugees, the Northern Triangle countries are experiencing epidemic levels of violence at the




6
  Jill H. Wilson, R45489 Recent Migration to the United States from Central America:
Frequently      Asked     Questions,     Cong.    Res. Serv. 2   (Jan.  29,   2019),
https://crsreports.congress.gov/product/pdf/R/R45489.

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         Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 24 of 64



hands of “well-connected, armed, and dangerous criminal groups in the region,” which have

utterly “surpassed the governments’ capacity to respond.”7

       103.      In particular, violence against women by armed groups has escalated

dramatically throughout Central America in recent years, and those governments have failed to

provide effective protection.8

       104.      As of 2016, El Salvador, Guatemala, and Honduras ranked first, third, and

seventh, respectively, for rates of female homicides.9

       105.      In some instances, government actors have been charged with participating in

such violence.    For example, following a March 2017 protest against sexual violence and

physical abuse at a Guatemalan government-run children’s shelter, 56 girls were locked inside

the shelter and 41 died in a fire, for which state officials were charged.10

       106.      Violence against children likewise is prevalent in the region. As one example,

Honduras is a particularly dangerous place for young people: In 2017, it was listed as the single

most violent country for children under nineteen years old, with a homicide rate of more than

thirty children per 100,000 inhabitants (about ten times the global average).11




7
   See Women on the Run: First-Hand Accounts of Refugees Fleeing El Salvador, Guatemala,
Honduras, and Mexico at 58, UNHCR (Oct. 2015), https://goo.gl/6hVsam; see also Neither
Security nor Justice: Sexual and Gender-based Violence and Gang Violence in El Salvador,
Honduras, & Guatemala, KIND (2017).
8
  Anjali Fleury, Fleeing to Mexico for Safety: The Perilous Journey for Migrant Women, United
Nations University (May 4, 2016), https://goo.gl/f8dspH.
9
  Women on the Run at 2, supra.
10
    Fatema Z. Sumar, Violence Against Women in Central America is a Powerful Factor in the
Migration Crisis (Nov. 8, 2018); Andrew V. Pestano, Guatemala charges officials over shelter
fire that killed 41 girls, UPI (Apr. 5, 2017), https://goo.gl/Zg1D86.
11
    Parker Asmann, Ten Countries with Highest Child Homicide Rates All in LatAM: Report,
InSight Crime (June 6, 2017), https://goo.gl/UC1Ea5.

                                                 24
        Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 25 of 64



       107.     In particular, two rival gangs (MS-13 and Mara 18) fight for control over

territory and recruit in urban and rural areas of Honduras.12 These gangs often target children as

their weapons of war, because national anti-gang legislation carries less severe penalties for

minors involved in gang activity than for adults.13 These young recruits are often forced to

collect “taxes” or sell drugs, and those who refuse are often killed,14 while law enforcement

officers frequently regard them as potential criminals or gang members.15

       108.     Corruption among Honduran law enforcement also has been widely reported;

some police officers themselves work with the gangs, compounding the dangers to citizens.16

       109.     Reports of violence against lesbian, gay, bisexual, and transgender (“LGBT”)

individuals in the Northern Triangle countries also are overwhelming, and frequently ignored by

state governments.17 The United Nations High Commissioner for Refugees found in the course

of a study that 88% of LGBT asylum seekers and refugees from the Northern Triangle reported

having suffered sexual and gender-based violence in their home countries.18




12
   See, generally, Gangs in Honduras, InSight Crime (Apr. 21, 2016), https://goo.gl/oL6nFn.
13
   Honduras, Country Reports on Human Rights Practices for 2016 at 28, U.S. Dep’t of State
(2016), https://goo.gl/7MpCCM.
14
   Report of the Special Rapporteur on Extrajudicial, Summary or Arbitrary Executions on his
Mission to Honduras at 6, U.N. Human Rights Council, A/HRC/35/23/Add.1 (June 2017).
15
   Id. at 14.
16
    Sarah Chayes, When Corruption is the Operating System: The Case of Honduras at 29,
Carnegie Endowment for International Peace (May 2017), https://goo.gl/nUFicM (“Of greater
concern are the reports we heard in interviews of collusion between police and the youth gangs
whose depredations it is their job to curb.”).
17
   See Women on the Run at 27-30, supra.
18
   No Safe Place, Amnesty Int’l at 7 (Nov. 2017), https://goo.gl/dNTUNm.

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         Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 26 of 64



       110.      According to the Honduran non-governmental organization Cattrachas, 264

LGBT individuals were killed in that country between 2009 and 2017; in most cases, those

responsible were never brought to justice.19

       111.      According to Amnesty International, the “high levels of impunity and corruption

in [Northern Triangle] countries mean authorities are unlikely to punish those responsible for

crimes against LGBT people, particularly when security forces are responsible for the attacks.”20

       112.      In sum, migrants fleeing to the United States, and particularly from the Northern

Triangle countries, often are running from life-or-death situations, leaving behind all they have

to make a dangerous journey.

       113.      Many of these individuals have legitimate claims for asylum in the United

States. According to data published by the United Nations High Commissioner for Refugees, in

Fiscal Year 2015 82% of the women from El Salvador, Guatemala, Honduras, and Mexico who

were subject to credible fear screenings by asylum officers in the United States were found to

have a significant possibility of establishing eligibility for asylum or protection under the CAT.21

       114.      In a similar 2014 report, the United Nations High Commissioner for Refugees

found that 58% of unaccompanied children interviewed from the Northern Triangle countries

and Mexico were “forcibly displaced because they suffered or faced harms that indicated a

potential or actual need for international protection.”22




19
   No Safe Place: LGBTI Salvadorans, Guatemalans and Hondurans Seeking Asylum in Mexico
(Nov. 27, 2017), https://goo.gl/79cG3H.
20
   Id.
21
   See Women on the Run n.2, UNHCR, https://goo.gl/6hVsam.
22
   Children on the Run: Unaccompanied Children Leaving Central America and Mexico and the
Need for International Protection at 6, UNHCR (2014), https://goo.gl/p3TGrW.

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         Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 27 of 64



                 Safety Risks and Difficulties in Obtaining Asylum in Mexico

       115.      The Rule posits that “[i]nstead of availing themselves of [Mexican asylum]

protections, many aliens transiting through Central America and Mexico decide not to seek

protection, likely based upon a preference for residing in the United States.”

       116.      That supposition ignores the reality that many asylum seekers are at risk of

kidnapping, disappearance, trafficking, and sexual assault, among other harms, while in transit

through third countries. That many choose to endure that dangerous journey through third

countries for an opportunity to seek asylum in the United States, without stopping to press their

claims in the intervening countries, is a telling indicator of the extreme risks of persecution and

violence faced by asylum seekers both at home and in transit.

       117.      In Mexico, “refugees and migrants face acute risks of kidnapping,

disappearance, sexual assault, trafficking, and other grave harms.”23 They are “targeted due to

their inherent vulnerabilities as refugees but also on account of their race, nationality, gender,

sexual orientation, gender identity, and other reasons.”24

       118.      Migrant females are particularly vulnerable. Data published by Amnesty

International estimates that 60% of women and girls are raped while migrating across Mexico,

and the estimates of some service providers are higher.25

       119.      “Some refugees” transiting through Mexico “have been trafficked into forced

labor, while women and girls have been trafficked to Mexico’s southern border where they have

been exploited in bars and night clubs that cater to police, military, and other forces.”26

23
   AR703 [HRF, Fact Sheet, Is Mexico Safe for Refugees and Asylum Seekers? (Nov. 2018)].
24
   Id.
25
    Alyson L. Dimmitt Gnam, Mexico’s Missed Opportunities to Protect Irregular Women
Transmigrants: Applying a Gender Lens to Migration Law Reform, 22 Pac. Rim L. & Pol. J.
713, 722 (2013); see also Invisible Victims: Migrants on the Move in Mexico at 5, Amnesty
International (2010), https://goo.gl/Bvs1RM.

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        Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 28 of 64



       120.     Rates of violence in Mexico also have been increasing, with more than 23,000

murder investigations opened in 2017 (the highest count on record).27

       121.     Upon arrival at the southern border of the United States, entry is often delayed

for many asylum-seekers. Defendant CBP engages in a well-documented practice of “metering,”

in which “officers only allow the asylum-seeker to cross the [international] line if space is

available” in the port of entry.28 “When the ports of entry are full, CBP guidance states that

officers should inform individuals that the port is currently at capacity and that they will be

permitted to enter once there is sufficient space and resources to process them.”29

       122.     Advocates have documented substantial delay times and long lines at designated

ports of entry such as Nogales, Arizona; El Paso and McAllen, Texas; and San Diego,

California.30 Families may be camped out in heat exceeding 100 degrees.31

       123.     Left stranded while waiting for backlogs at ports of entry to clear, asylum

seekers are particularly vulnerable to kidnapping, extortion, and other violence by organized

crime elements in northern Mexico.32 A study issued by HRF reported that local lawyers and




26
   AR703.
27
    Mexico murders hit record high, dealing blow to president, Reuters (Dec. 23, 2017),
https://goo.gl/524yFF.
28
   Special Review – Initial Observations Regarding Family Separation Issues Under the Zero
Tolerance Policy, OIG-18-84 at 6, U.S. Office of Inspector Gen. (Sept. 27, 2018).
29
   Id.
30
   Adam Isacson et al., “Come Back Later”: Challenges for Asylum Seekers Waiting at Ports of
Entry at 2-3, Washington Office on Latin Am. (Aug. 2018), https://goo.gl/euGQyY.
31
   Id. at 3.
32
   Isaacson, supra, at 7; see also Situation of Impunity and Violence in Mexico’s Northern Border
Region, Washington Office on Latin America, Latin American Working Group, and Kino Border
Initiative, March 2017, https://goo.gl/pYSySP (finding that “[v]iolence and crimes against
migrants in Mexico’s northern border states have long been documented to include cases of
disappearances, kidnappings, rape, trafficking, extortion, executions, and sexual and labor
exploitation by state and non-state actors,” and that CBP’s refusal to permit the entry of migrants
at ports of entry exposes individuals, families, and children to “organized crime and smugglers as

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        Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 29 of 64



shelter staff found that “most—if not all—migrants they encounter who had been turned away

from the [Hidalgo] port of entry have been kidnapped and held for ransom” by cartel members

waiting outside the port in Mexico.33

       124.     Even if seeking asylum in Mexico seemed desirable against this backdrop of

safety risks, some migrants report that asylum claims have been more difficult to prove to

Mexican authorities, that they did not have enough information about protections in Mexico, or

that conditions in Mexico are sufficiently dangerous that seeking asylum there would not

improve their safety.34

       125.     Mexico’s refugee agency, La Comision Mexicana de Ayuda a Refugiados

(“COMAR”), lacks the resources and funding to adequately process asylum applications. This

year, Mexico is on track to receive double the number of asylum applications from 2018—an

increase of 30,000 applications.35

       126.     Despite this massive influx of applications, in 2019 COMAR received its lowest

funding in seven years, with a budget of only $1.2 million. The head of COMAR recently

explained that the agency is “simply trying to survive.”36

       127.     Asylum seekers have resorted to bribes to receive interviews with members of

COMAR’s staff, which has around 50 members nationwide. Lines at COMAR offices have




well as corrupt state authorities unable to protect them or investigate the crimes they have
suffered”).
33
   Crossing the Line, supra, at 16.
34
   Fleury, Fleeing to Mexico for Safety: The Perilous Journey for Migrant Women, supra.
35
   Lizbeth Diaz & Delphine Schrank, Mexico’s refugee agency turns to U.N. amid asylum surge,
funding cuts, Reuters (May 21, 2019), https://www.reuters.com/article/us-usa-immigration-
mexico/mexicos-refugee-agency-turns-to-u-n-amid-asylum-surge-funding-cuts-
idUSKCN1SS06N.
36
   Id.

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         Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 30 of 64



stretched for multiple blocks.37 As of today, COMAR’s website lists only four offices, none of

which are on the southern border with the U.S.38

        128.      Asylum seekers in Mexico have only 30 days to apply for asylum. Human

rights organizations report that many refugees are barred from asylum because of this time

limitation.39

        129.      The time bar is particularly stringent given how little information migrants have

about asylum in Mexico. In one survey, three out of every four migrants who passed through a

Mexican immigration detention center were not informed of their right to seek asylum.40

        130.      Asylum seekers apprehended by Mexican immigration officers may only pursue

asylum from detention.41 Mexican detention centers suffer from overcrowding and rampant

abuse. An 80-person detention center once held over 400 people.42 In one study, 94% of

migrants in detention centers suffered abuse while detained.43

        131.      Mexican immigration officials reportedly threaten to detain migrants in

retaliation for applying for asylum. The threat of detention deters asylum seekers from pursuing

their claims.44




37
   Id.
38
   Where is COMAR?, COMAR, https://www.gob.mx/comar/articulos/donde-esta-comar?idiom
=es (last visited July 16, 2019).
39
     HRF, Dangerous Territory: Mexico Still Not Safe for Refugees 7 (July 2017),
https://www.humanrightsfirst.org/sites/default/files/HRF-Mexico-Asylum-System-rep.pdf.
40
    Amnesty Int’l, Overlooked, Under-Protected: Mexico’s Deadly Refoulement of Central
Americans        Seeking     Asylum    5    (Jan      2018),  https://www.amnestyusa.org/wp-
content/uploads/2018/01/AMR4176022018-ENGLISH-05.pdf.
41
   HRF, supra, at 8.
42
    James Fredrick, Mexico Is Overwhelmed By Asylum Claims As It Ramps Up Immigration
Enforcement, N.P.R. (June 14, 2019), https://www.npr.org/2019/06/14/732485182/mexico-is-
overwhelmed-by-asylum-claims-as-it-ramps-up-immigration-enforcement.
43
   HRF, supra, at 8.
44
   Id.

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         Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 31 of 64



       132.       Even if migrants are able to apply for asylum in Mexico, they face difficulties

receiving it. Nonprofit organizations and attorneys in Mexico report that asylum adjudications

are often unfair, inconsistent, and contrary to law.45

       133.       Asylum seekers often navigate this complicated process without legal

representation. When they are detained, asylum seekers are at times prevented from conferring

with counsel.46

       134.       By Mexican law, COMAR must adjudicate asylum cases within 45 business

days. But some migrants have been waiting for over six months for a ruling.47 And with tens of

thousands of asylum requests reportedly pending, COMAR has been forced to turn to other

entities, including the United Nations, for assistance with additional funding and staffing.48

       135.       Asylum seekers “cannot work, go to school, or access certain features of

Mexico’s public health system” while their asylum claims are pending.49

       136.       Refugee organization statistics examining the “low rate of success on asylum

applications in Mexico” indicate that in 2017, only 11% of asylum applicants from the Northern

Triangle were granted immigration protection (either asylum or complementary protection). 50



45
   Id. at 7.
46
   Id.
47
   Juan Montes, Upsurge of Asylum Requests Poses Challenge for Mexico, Wall Street Journal
(June 13, 2019), https://www.wsj.com/articles/upsurge-of-asylum-requests-poses-challenge-for-
mexico-11560418201.
48
   Rafael Carranza, Mexico’s tiny refugee office seeks help to process record number of asylum-
seekers, Arizona Republic (June 24, 2019), https://www.azcentral.com/story/news/
politics/immigration/2019/06/24/united-nations-central-america-asylum-seekers-mexico-
refugees-migrants/1549975001/; see also Protection and Reintegration: Mexico Reforms
Migration Agenda in an Increasingly Complex Era, Migration Policy Institute, Fig. 2 (Mar. 7,
2019),       https://www.migrationpolicy.org/article/protection-and-reintegration-mexico-reforms-
migration-agenda.
49
   Patrick Timmons, Mexico facing two-year backlog as asylum requests soar, United Press Int’l
(Aug. 31, 2018), https://www.upi.com/Top_News/World-News/2018/08/31/Mexico-facing-two-
year-backlog-as-asylum-requests-soar/2031535567041/.

                                                 31
        Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 32 of 64



       137.       Other asylum seekers in Mexico are “denied protection by COMAR officers

who claim that refugees targeted by groups with national reach can safely relocate within their

communities.”51

       138.       And according to evidence in the administrative record, Mexico “lack[s] an

effective appeal process to correct wrongful denials of protection.”52

              Safety Risks and Difficulties in Obtaining Asylum in Guatemala

       139.    The Rule also would require migrants fleeing Honduras and El Salvador by land

to seek asylum in Guatemala (if not in Mexico) before seeking such protection in the United

States. In Guatemala, however, asylum procedures are largely untested and thus far have proven

inadequate to meet the needs of asylum seekers.

       140.    While crossing Guatemala, migrants are susceptible to the very violence and

criminal activity that Guatemalans themselves are fleeing en masse.53         Migrants traversing

Guatemala “constitute a particularly vulnerable social group subject to grave risks at the hands of

gangs and other criminal elements.”54 Moreover, the Guatemalan government cannot “provide

even a modicum of services or security for” such asylum seekers.55




50
    Women’s Refugee Comm., Mexico Does Not Qualify as a Safe Third Country 3,
https://www.womensrefugeecommission.org/images/zdocs/SafeThirdCountries.pdf (last visited
July 16, 2019).
51
   AR703.
52
   Id.
53
    U.S. State Dep’t, Guatemala 2018 Human Rights Report, https://www.state.gov/wp-
content/uploads/2019/03/GUATEMALA-2018.pdf.
54
   Letter from Eric Schwartz, President, Refugees International to Marik String, Acting Legal
Adviser, Office of the Legal Adviser, U.S. State Dep’t 2 (June 29, 2019),
https://static1.squarespace.com/static/506c8ea1e4b01d9450dd53f5/t/5d1a58cf946d10000128348
1/1562007760092/Letter+to+Acting+Legal+Adviser+String+from+Eric+Schwartz.pdf.
55
   Id.

                                                32
         Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 33 of 64



       141.      Guatemala also lacks a robust asylum system. Guatemala’s asylum agency has

“fewer than 10 employees.”56 Its “migration and police authorities lack[ ] adequate training

concerning the rules for establishing refugee status.”57 And the State Department has recognized

that Guatemala’s “identification and referral mechanisms for potential asylum seekers [a]re

inadequate.”58

       142.      Consistent with those shortcomings, only approximately 260 refugees sought

asylum in Guatemala in 2018,59 compared with the tens of thousands of Guatemalans who have

fled the country.60

       143.      The Rule makes no conclusions as to the adequacy of the Guatemalan asylum

system beyond a note that the country is a party “to both the Refugee Convention and the

Refugee Protocol.” 84 Fed. Reg. at 33,839.

           The Government’s Escalating Responses to Southern Border Migration

       144.      Notwithstanding the dire conditions in many Central American countries, the rate

of illegal border crossings is substantially down from its peak.

       145.      The number of migrants arrested at the southern border for attempting to cross

unlawfully is at its lowest level since 1971: For Fiscal Year 2017, Defendant CBP reported




56
   Zolan Kanno-Youngs, Asylum Deal With Guatemala Is Contentious, Despite U.S. Assurances,
N.Y. Times (Aug. 1, 2019)
57
   Guatemala 2018 Human Rights Report, supra, at 13.
58
   Id.
59
   Steve Holland & Sofia Menchu, Guatemala agrees to new migration measures to avoid Trump
sanctions threat, Reuters (July 26, 2019), https://www.reuters.com/article/us-usa-immigration-
guatemala/guatemala-agrees-to-new-migration-measures-to-avoid-trump-sanctions-threat-
idUSKCN1UL2KR?il=0.
60
   Kanno-Youngs, supra.

                                                33
           Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 34 of 64



310,531 such arrests, down from 1,676,438 in 2000.61 The 2017 figures represented a 25%

decrease since 2016 alone.62

          146.   The Rule itself similarly recognizes that the “overall number of apprehensions of

illegal aliens was relatively higher two decades ago than it is today (around 1.6 million in

2000).”

          147.   Nonetheless, Defendants have targeted southern border asylum seekers in recent

months with exceptionally strict policies and unlawful regulations.

          148.   In April 2018, the Administration announced a new “Zero Tolerance” policy on

immigration, pursuant to which the Government began separating detained migrant parents and

their children.63

          149.   Following immense public opposition and political pressure, the “Zero Tolerance”

family separation policy was withdrawn by Executive Order for an indefinite period on June 20,

2018.64

          150.   On June 26, 2018, the U.S. District Court for the Southern District of California

issued a preliminary injunction enjoining the Government from unlawfully detaining migrant




61
    John Burnett, Arrests for Illegal Border Crossings Hit 46-Year Low, NPR (Dec. 5, 2017)
https://goo.gl/xqqjTo; CBP Border Security Report, Fiscal Year 2017, CBP (Dec. 5, 2017),
https://goo.gl/k2wmia.
62
   Id.
63
    Attorney Gen. Announces Zero-Tolerance Policy for Criminal Illegal Entry, DOJ (Apr. 6,
2018), https://goo.gl/sdsvQP; see also Attorney Gen. Sessions Delivers Remarks Discussing the
Immigration Enforcement Actions of the Trump Admin., DOJ (May 7, 2018),
https://goo.gl/ihRX79 (“If you are smuggling a child, then we will prosecute you and that child
will be separated from you as required by law.”).
64
   Exec. Order No. 13,841, Affording Congress an Opportunity to Address Family Separation, 83
Fed. Reg. 29,435 (June 25, 2018).

                                                34
        Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 35 of 64



parents without and apart from their children, and ordered the Government to reunite separated

families within thirty days, absent a determination of parental unfitness or danger to the child.65

       151.    On November 15, 2018, following additional legal challenges, the Government

entered a class Settlement Agreement, approved by the U.S. District Court for the Southern

District of California, requiring Defendants to, inter alia, reconsider the asylum claims of classes

of migrant parents and children who were unlawfully separated.66

       152.    In late 2018, among other statements, President Trump tweeted that individuals

would “have to apply for asylum in Mexico first, and if they fail to do that, the U.S. will turn

them away.”67 On October 31, 2018, the President tweeted a video that contained inflammatory

footage depicting an immigrant convicted of murdering police officers followed by a migrant

“caravan” breaking past a wall.68

       153.    On November 9, 2018, the Acting Attorney General and Secretary of Homeland

Security promulgated a new asylum policy imposing a “new mandatory bar on eligibility for

asylum” for “aliens who are subject to a presidential proclamation suspending or imposing

limitations on their entry into the United States pursuant to § 212(f) of the INA, 8 U.S.C.

§ 1182(f), or § 215(a)(1) of the INA, 8 U.S.C. § 1185(a)(1), and who enter the United States in

contravention of such a proclamation after the effective date of this rule.” 83 Fed. Reg. 55,939.



65
   Ms. L v. U.S. Immigration & Customs Enforcement (“ICE”), 310 F. Supp. 2d 1133, 1149
(S.D. Cal. 2018).
66
   Id.; Dkt. 321, Case No. 18-cv-0428 DMS (MDD) (S.D. Cal.) (Order Certifying Settlement
Class and Granting Final Approval of Class Action Settlement) (Nov. 15, 2018); id. Dkt. 220-1
(Plan to address the asylum claims of class-member parents and children who are physically
present in the United States) (Sept. 12, 2018).
67
    Donald J. Trump (@realDonaldTrump), Twitter (Oct. 21, 2018, 12:11 PM EDT),
https://goo.gl/6Hx5Eb.
68
    Donald J. Trump (@realDonaldTrump), Twitter (Oct. 31, 2018, 1:18 PM EDT),
https://goo.gl/cH9MD7. The video was denounced by numerous Republican and other elected
officials.

                                                 35
        Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 36 of 64



       154.    On November 9, 2018, the day after that policy was first announced, President

Trump issued a Proclamation pursuant to 8 U.S.C. §§ 1182(f), 1185(a). The Proclamation

immediately suspended “[t]he entry of any alien into the United States across the international

boundary between the United States and Mexico,” applicable to aliens who enter the country

after the date of the Proclamation and outside designated ports of entry. Proc. §§ 1, 2(a)-(b).

       155.    All noncitizens who entered the United States without inspection at the southern

border were thus rendered immediately ineligible for asylum.

       156.    That rule was promptly subject to challenge in several of federal courts. On

November 19, 2018, in a case brought by the American Civil Liberties Union (“ACLU”), the

U.S. District Court for the Northern District of California issued a temporary restraining order

enjoining the implementation of that policy nationwide. East Bay Sanctuary Covenant, et al. v.

Trump, et al., Case No. 18-cv-06810, 2018 WL 6053140, at *21 (N.D. Cal. Nov. 19, 2018). The

court concluded that the plaintiffs were likely to succeed on the merits of their claims, see id. at

*10-17, that the organizational plaintiffs “made a clear showing that it is likely that they and

their clients will suffer irreparable harm absent a TRO,” id. at *19, and that the public interest

and balance of equities favor an injunction against the Rule, id. at *19-20.

       157.    On December 7, 2018, the Ninth Circuit issued its opinion denying the

Government’s request for a stay of the district court’s temporary restraining order pending

appeal. East Bay, Case No. 18-17274, 2018 WL 6428204 (9th Cir. Dec. 7, 2018).

       158.    On December 11, 2018, the Government filed an emergency application to the

United States Supreme Court for a stay of the district court’s injunction. Application for Stay

Pending Appeal, Trump v. East Bay Sanctuary Covenant, No. 18A615 (U.S. Dec. 11, 2018).

The Supreme Court denied the request on December 21, 2018.



                                                36
         Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 37 of 64



        159.    On December 19, 2018, U.S. District Court for the Northern District of California

issued a preliminary injunction as to the same policy. Litigation in the district court is stayed

pending the Ninth Circuit’s resolution of the Government’s interlocutory appeal of its temporary

restraining order and subsequent preliminary injunction.

        160.    Two related complaints were also filed in this Court. The first, O.A., et al. v.

Trump, et al., No. 1:18-cv-02718 (D.D.C. Nov. 20, 2018), was brought on behalf of a set of

individual plaintiffs who were subject to that policy. The second, S.M.S.R., et al. v. Trump, et

al., No. 1:18-cv-02838 (D.D.C. Dec. 3, 2018), was brought on behalf of CAIR Coalition,

RAICES, and individual plaintiffs subject to the policy. The O.A. and S.M.S.R. plaintiffs moved

for temporary restraining orders and preliminary injunctions. The two cases were consolidated,

and the parties moved for class certification and summary judgment on behalf of a nationwide

class consisting of all noncitizen asylum-seekers who have entered or will enter the United States

through the southern border but outside ports of entry after November 9, 2018.

        161.    On August 2, 2019, the Court granted summary judgment to the plaintiffs,

vacated the rule in its entirety, and certified a plaintiff class consisting of all asylum-seekers

subject to the rule.

                                            The Rule

        162.    On July 16, 2019, Defendants issued the Rule, entitled “Asylum Eligibility and

Procedural Modifications,” 84 Fed. Reg. 33,829, without the thirty days’ advance notice and

opportunity for public comment required under the APA, 5 U.S.C. § 553(b)-(d).

        163.    The Rule creates a new exception to the INA’s presumption of asylum eligibility

for those present or arriving in the United States after transiting through third countries. Under

the Rule’s amendments to 8 C.F.R. §§ 208.13, 1208.13, an individual who “enters, attempts to



                                               37
         Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 38 of 64



enter, or arrives in the United States across the southern land border on or after July 16, 2019,

after transiting through at least one country outside of the alien’s country of citizenship,

nationality, or last lawful habitual residence en route to the United States, shall be found

ineligible for asylum.” 84 Fed. Reg. 33,843. The Rule applies unless an affected individual can

show that she falls into one of three narrow exceptions: (1) she applied for protection from

persecution or torture in at least one third country and received a final judgment of denial; she

satisfies the definition of a “victim of a severe form of trafficking in persons” under 8 C.F.R.

§ 214.11; or the only third countries through which she transited to the United States were, at the

time, not parties to the 1951 United Nations Convention relating to the Status of Refugees, the

1967 Protocol Relating to the Status of Refugees, or the United Nations Convention against

Torture and Other Cruel, Inhuman or Degrading Treatment of Punishment (“CAT”). Id.

       164.    The Rule’s amendments to 8 C.F.R. § 208.30(e)(5)(ii) confirm that individuals

subject to this revised policy will face a higher burden to avoid removal: “If the alien is found to

be an alien described in § 208.13(c), then the asylum officer shall enter a negative credible fear

determination with respect to the alien’s intention to apply for asylum,” and proceed to place the

individual into full removal proceedings under Section 240 of the INA for consideration of her

claims for withholding of removal under Section 241(b)(3) of the INA or for protection under the

CAT. 84 Fed. Reg. 33,843-33,844.

       165.    Either alternative form of relief (withholding of removal or protection pursuant to

the CAT) requires the individual to establish a more burdensome “reasonable fear of persecution

or torture,” rather than a credible fear, subject to limited review under the same “reasonable fear”

standard by an immigration judge.          84 Fed. Reg. 33,843-33,844 (amending 8 C.F.R.

§ 208.30(e)(5)(ii)).



                                                38
        Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 39 of 64



       166.    A set of Guidelines Regarding New Regulations Governing Asylum and

Protection Claims, issued on July 15, 2019 by Defendant McHenry and sent to “[a]ll of EOIR,”

summarizes the consequences of the Rule: “Aliens determined to be ineligible for asylum will

still be screened, but in a manner that reflects that their only potentially viable claims would be

for statutory withholding of removal or protection under the [CAT]. After determining the

alien’s ineligibility for asylum under the credible-fear standard, an asylum officer will apply the

reasonable-fear standard to assess whether further proceedings on a statutory withholding or

CAT protection claim are warranted. If the asylum officer determines that the alien has not

established a reasonable fear, the alien then can seek review of that decision from an immigration

judge and will be subject to removal only if the immigration judge agrees with the negative

reasonable-fear finding. Conversely, if either the asylum officer or the immigration judge

determines that the alien clears the reasonable-fear threshold, the alien will be placed in section

240 proceedings, just like aliens who receive a positive credible-fear determination for

asylum.”69

       167.    The rule does not provide for a categorical exemption for unaccompanied alien

children (“UACs”), even though UACs are exempt from the safe third country bar. UACs who

transit through a country en route to the United States will therefore be barred from seeking

asylum unless they seek and are denied asylum in a third country first. 84 Fed. Reg. at 33,839.

       168.    The Rule’s purpose statement asserts that the Rule is intended to “more efficiently

identify[] aliens who are misusing the asylum system to enter and remain in the United States

rather than legitimately seeking urgent protection from persecution or torture. Aliens who

transited through another country where protection was available, and yet did not seek

69
  Guidelines Regarding New Regulations Governing Asylum and Protection Claims, EOIR (July
15, 2019), https://www.justice.gov/eoir/file/1183026/download (last visited July 16, 2019).

                                                39
        Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 40 of 64



protection, may fall within that category.” 84 Fed. Reg. 33,831. It claims that the Rule will

“more efficiently identify[ ] aliens who are misusing the asylum system to enter and remain in

the United States rather than legitimately seeking urgent protection from persecution or torture,”

and that “[a]liens who transited through another country where protection was available, and yet

did not seek protection, may fall within that category.” Id.

       169.    The Rule invokes two exceptions—the “good cause exception” and the “foreign

affairs exception”—as a basis for dispensing with notice-and-comment and a 30-day delay in the

effective date under 5 U.S.C. § 553(d). It states that there is good cause to forgo notice and

comment because a delay in implementation might encourage a surge in migration across the

southern border. It states that the rule “directly implicates the foreign policy and national

security interest of the United States” because it involves “[t]he flow of aliens across the

southern border, unlawfully or without appropriate travel documents.” 84 Feg. Reg. at 33,841.

       170.    Written or electronic comments regarding the Rule must be submitted on or

before August 15, 2019. 84 Fed. Reg. 33,830.

                                       Harms to Plaintiffs

       171.    Absent declaratory and injunctive relief against the Rule, each of the Plaintiffs

will be severely and irreparably harmed.

       172.    Under the Rule, J.M.M., D.L.R., Z.B.M., Y.G.C., M.Y.R.B., K.M.V.M.,

W.M.R.O., C.C.R.O., and N.G.R.L. (the “Individual Plaintiffs”) are barred from seeking asylum

in the United States because they entered the country through the southern border on or after July

16, 2019 after having transiting through at least one third country in which they did not first

apply for asylum.




                                                40
        Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 41 of 64



       173.    As a result of the Rule, Individual Plaintiffs face elevated risks of removal to

countries in which they face severe threats of persecution and violence. The Rule also deprives

them of the other benefits of asylum, such as derivative eligibility for family members, work

authorization, and a path to citizenship, that are not available in connection with other forms of

protection from removal.

       174.    Plaintiffs CAIR Coalition, RAICES, and HRF (the “Organizational Plaintiffs”)

will also be severely and irreparably harmed through diversion of their human and financial

resources and injury to their abilities to serve their client populations consistent with their

organizational missions.

       175.    The Organizational Plaintiffs are 501(c)(3) nonprofit organizations that provide

assistance to asylum seekers in the United States, including individuals who crossed the southern

border without applying for asylum in third countries.

       176.    Plaintiff CAIR Coalition is dedicated to providing legal services to migrant men,

women, and children who are detained by ICE or the Office of Refugee Resettlement (“ORR”) in

Virginia and Maryland. CAIR Coalition assists clients with applications for asylum, preparing

for credible fear interviews, and adversarial proceedings in immigration courts. CAIR Coalition

also trains and supervises legal professionals to provide similar assistance. Asylum applications

are a critical component of CAIR Coalition’s organizational mission.

       177.    Asylum applications are a critical component of CAIR Coalition’s organizational

mission. Each year, CAIR Coalition serves hundreds of clients seeking asylum who entered the

United States at the southern border.

       178.    The Rule, if not enjoined, will irreparably frustrate CAIR Coalition’s mission to

serve as many migrants lawfully seeking asylum as possible. Because Defendant DHS will



                                               41
        Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 42 of 64



summarily deport many asylum seekers before they reach the Washington, DC metropolitan

area, CAIR Coalition will face a drastic reduction in its client base.

       179.    The Rule also will substantially limit the overall number of clients CAIR

Coalition can serve.     CAIR Coalition must create more complicated new resources and

procedures to assist clients with their claims, in turn reducing how many clients the organization

can reach. The Rule puts CAIR Coalition in a difficult position: raise more funds to serve the

same number of clients, or reduce the number of clients served to fit within its current budget.

       180.    For example, CAIR Coalition will be forced to divert significant staff resources to

analyzing and interpreting the Rule, overhauling its client information database, and preparing

new informational and advocacy materials.

       181.    CAIR Coalition also will need to develop new materials and procedures for jail

visits specifically for asylum seekers subject to the Rule. CAIR Coalition usually provides one

orientation for all detainees, regardless of how they entered the country. Under the Rule,

however, CAIR Coalition must develop a separate orientation for affected asylum seekers to

explain the different standard for their credible fear interview and the limited forms of relief

available, double the number of staff to conduct two orientations, and spend more staff time on

the longer, more complicated dual orientation.

       182.    Under the Rule, CAIR Coalition also will expend more resources to prepare each

affected asylum seeker for his or her credible fear interview. During the approximately 1,500

intake sessions for detained adults that CAIR Coalition conducts each year, a CAIR Coalition

staff member typically spends about five to ten minutes with each adult eligible for such

interview preparing them for their credible fear interview.




                                                 42
           Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 43 of 64



       183.     Under the Rule, affected asylum seekers effectively will need to meet the higher

“reasonable fear” standard rather than the traditional “credible fear” standard to obtain relief. To

prevail in a reasonable fear interview, an individual must show effectively at least a 51%

chance—i.e., that they “more likely than not”—will be persecuted or tortured in their home

country. In contrast, in a credible fear interview, an individual must show an approximately 10%

chance—i.e., that they have a “well-founded fear”—of persecution or torture in their home

country.    It is much more difficult for migrants to receive a positive determination in a

reasonable fear interview. During 2018, only 62% of reasonable fear interviews CAIR Coalition

was involved with received positive determinations, compared to 87% for credible fear

interviews.

       184.     As a result of the heightened “reasonable fear” standard, each preparation session

for an affected asylum seeker will take roughly twice the amount of time, roughly ten to twenty

minutes per client, whether to elicit and prepare more facts to satisfy the higher standard or

related to follow-up interviews. The Rule thus would cut in half the number of clients CAIR

Coalition can prepare during each jail visit. And with finite resources and permission to make

jail visits only a few times per month, CAIR Coalition will be unable to compensate for this loss.

       185.     CAIR Coalition will expend more resources during credible fear interviews for

affected adult asylum seekers, too. Prior to the Rule, CAIR Coalition had stopped sending staff

and volunteers to credible fear interviews in person because the overwhelming majority of

clients received positive results. Instead, CAIR Coalition generally would review the transcripts

from interviews with negative determinations.

       186.     Because the Rule will increase the standard for the interviews, it will be necessary

to send staff and volunteer attorneys to as many interviews as possible to increase the likelihood



                                                 43
          Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 44 of 64



that each client will have a fair chance to present her case. If CAIR Coalition staff members are

busy attending these interviews, they will be unable to assist as many clients in trial proceedings

under INA § 240.

         187.   Given the increased burden of proof that will be required at interviews, CAIR

Coalition also anticipates that it will not be able to staff interviews with legal assistants or law

student volunteers, as it sometimes has in the past.

         188.   CAIR Coalition also will need to recreate its now-defunct volunteer program for

attending credible fear interviews as a result of the higher standard. Because of the Rule, CAIR

Coalition already has discussed hiring another dedicated attorney or legal assistant to recruit and

train volunteer lawyers to attend credible fear interviews.

         189.   The increased need for volunteer lawyers has a ripple effect on the rest of CAIR

Coalition’s programs. Attorneys volunteering to attend credible fear interviews will have less

time—or perhaps no more time—available to volunteer in other cases. This reduced volunteer

capacity reduces the organization’s overall capacity to represent as many clients as possible,

especially in trial proceedings.

         190.   Reduced volunteer capacity also will divert resources from other CAIR Coalition

initiatives, such as providing translations or conducting country conditions research.

         191.   The Rule also will force CAIR Coalition to spend more time and resources on

each child client, because all child cases will be time- and resource-intensive trial cases.

Because the Rule prevents affected asylum seekers, including children, from obtaining asylum,

their cases bypass the normal Asylum Office process and move directly to trial at immigration

court.




                                                 44
        Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 45 of 64



       192.    CAIR Coalition’s staff members will have to prepare for trial rather than an

interview at the Asylum Office. And staff members who work with detained children will have

less time available to work on each case, as the detained docket moves much faster than the

timeframe at the Asylum Office.

       193.    Under the Rule, CAIR Coalition will have to spend more time and resources on

cases for young mothers and their children as well. Each year, CAIR Coalition serves about

twenty to thirty mothers and their migrant children who live in shelters. CAIR Coalition

anticipates that, under the new Rule, it will have to significantly increase the total time that must

be spent on each family’s case, because the mothers will be ineligible for asylum and their

children unable to be counted as derivatives within a single application for relief.

       194.    The Rule also will jeopardize CAIR Coalition’s already tight budget. CAIR

Coalition depends on law firms for 12% of its annual budget; if the organization places fewer

asylum cases with volunteers at law firms, it is likely to receive fewer of these much-needed

donations.

       195.    In addition, some of CAIR Coalition’s funding is tied to the number of adult

clients that it serves each year. At the Caroline County, Virginia detention center, for example,

CAIR Coalition receives funding to serve a targeted number of detained adults in trial

proceedings each year. Since January 1, 2018, CAIR Coalition conducted 4,477 intakes with

children and adults that it encountered detained either in Virginia or Maryland. The increased

time it takes CAIR Coalition to serve each asylum seeker correspondingly reduces the overall

numbers of people served. As a result, it is uncertain whether CAIR Coalition will be able to

comply with its existing funding conditions tied to numbers of trial representations.




                                                 45
          Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 46 of 64



         196.    The Rule’s lack of notice and comment procedures also irreparably compromised

CAIR Coalition’s ability to inform the Government of the substantial and irreparable harms—

both to the organization and its clients—that the policy would create. Commenting on rules and

regulations is an important part of CAIR Coalition’s mission to improve the lives of migrants in

the Washington, D.C. area. Had CAIR Coalition been given the opportunity to comment on the

Rule, it would have done so.

         197.    RAICES is a 501(c)(3) nonprofit organization headquartered in San Antonio,

Texas.

         198.    Founded in 1986 as the Refugee Aid Project by community activists in South

Texas, RAICES has grown to be the largest immigration legal services provider in Texas.

RAICES is a 501(c)(3) nonprofit organization headquartered in San Antonio, Texas, with other

offices in Austin, Corpus Christi, Dallas, Fort Worth, and Houston. RAICES’s mission is to

promote justice by providing free and low-cost legal services to underserved migrant children,

families, and refugees in Texas. In 2017, RAICES closed approximately 51,000 cases at no cost

to the client.

         199.    Absent an injunction, the Rule will irreparably harm RAICES in multiple ways,

including by frustrating RAICES’s mission to serve as many migrant clients as possible.

RAICES will be unable to represent the same number of clients that it does currently, both

because fewer clients will be eligible for relief and because RAICES will spend more resources

on each individual case. The Rule also will force RAICES to divert scarce resources away from

other important programs to compensate for the additional time, procedures, and staff required to

continue serving clients under the policy.




                                               46
         Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 47 of 64



       200.    The Rule will fundamentally reduce the capacity and divert the resources of

RAICES’s Family Detention Services program, which will need to devise entirely new intake

procedures at each of the detention centers it serves. Currently, the intake process is relatively

short. Under the Rule, however, RAICES staff will need to conduct more extensive and time-

consuming intake questioning of each client. In particular, RAICES would need to determine

whether the client crossed the southern border after traveling through a third country, whether

the client sought protection in that third country, whether a decision was made on that

application prior to the client’s arrival in the United States, and whether he or she is likely to

meet the higher legal standards for alternative forms of relief.

       201.    The Rule also will require Family Detention Services to create an entirely new

process for assisting affected asylum seekers with their credible fear interviews. For example,

Family Detention Services currently assists most detainees at the detention facility in Karnes,

Texas with their credible fear interviews.

       202.    Pro bono attorneys and law students often attend these interviews telephonically

so that staff can focus on difficult or emergency cases.

       203.    Under the Rule, however, Family Detention Services will be forced to create a

more time- and resource-intensive dual-track system to prepare clients for interviews: one for

clients who entered before the effective date of the Rule or who meet its exceptions, and another

entirely new system for affected asylum seekers who entered after the Rule’s effective date and

fall under its new asylum eligibility bar.

       204.    Under the Rule, the shift from credible to reasonable fear interviews will be a

significant one for Family Detention Services. The reasonable fear standard is much more

difficult to meet than the credible fear standard.



                                                 47
        Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 48 of 64



       205.    The program’s staff will spend double or triple the time interviewing and

preparing each client to meet the higher reasonable fear standard. Due to the higher stakes, more

staff will need to attend interviews, rather than relying on volunteers.

       206.    For the pro bono attorneys that still could attend, Family Detention Services will

need to create new training resources on legal arguments that were rarely necessary during

previous credible fear interviews. And RAICES would be unable to rely on law students and

non-lawyers to attend these interviews, drastically reducing the program’s volunteer base.

       207.    As a result of the Rule and the foregoing resource-shifting, Family Detention

Services might not be able to provide any assistance at credible fear interviews for asylum

seekers unaffected by the policy.

       208.    Family Detention Services also will struggle under the weight of increased

appeals under the Rule. These appeals are time-consuming for staff, who must prepare the client

to testify and research legal arguments for immigration court. Family Detention Services will

need to narrow its case acceptance criteria as the volume of appeals increases, further

undermining the program’s commitment to universal representation.

       209.    Nor will Family Detention Services be able to rely on pro bono attorneys to

represent clients in immigration court; unlike with telephonic credible fear interviews, few pro

bono attorneys are available to represent clients in person at immigration court, especially in

rural Texas.

       210.    The Rule also creates new burdens for RAICES’s Children’s Program. Under the

Trafficking Victims Protection Reauthorization Act (“TVPRA”), removal proceedings for

unaccompanied minors applying for asylum occur at the Asylum Office in a non-adversarial

context, rather than in immigration court, to protect these vulnerable children.



                                                 48
        Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 49 of 64



       211.    Under the Rule, however, unaccompanied minors who fail to apply for asylum in

a third country will no longer be eligible for asylum. An Immigration Judge will hear the case

for withholding of removal and protection under CAT. What has been a non-adversarial process

using minimal resources therefore will become a lengthy and costly process for the Children’s

Program. Staff will have to prepare formal briefings and sophisticated legal arguments for an

Immigration Judge, both of which are uncommon for Asylum Office proceedings.

       212.    The adversarial process in immigration court is also a traumatic one for the

children. Under the Rule, Children’s Program staff will expend tremendous time and resources

preparing children not only for the contents of their testimony and cross-examination by a DHS

attorney, but also for the emotional toll that testimony would take.

       213.    The Rule will add new obstacles for RAICES’s Community Immigration Services

program as well, which provides legal services and representation to detained adults and non-

detained adults and families.

       214.    Under the Rule, Community Immigration Services will spend at least double the

traditional time on each family’s applications. Because each individual will have to submit a

separate application, rather than one application per family, it will take significantly more time

and resources for Community Immigration Services lawyers to assist families with their

applications than before the policy.     RAICES anticipates that, under the Rule, Community

Immigration Services would need to assist with at least twice the current number of applications.

       215.    Community Immigration Services staff also may have to shift roles into other

RAICES programs. If fewer clients are released from detention under the higher reasonable fear

standard, Community Immigration Services lawyers will have a decreased population to serve.

Family Detention Services and the Children’s Program, conversely, will be understaffed due to



                                                49
        Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 50 of 64



the increased burdens created by the Rule.          RAICES will need to retrain Community

Immigration Services staff to perform unfamiliar duties for other programs.

       216.   The Rule’s lack of notice and comment procedures also irreparably compromised

RAICES’s ability to inform the Government of the substantial harms—both to the organization

and its clients—that the policy would create.       Commenting on rules and regulations is an

important part of RAICES’s mission to improve the lives of migrants in Texas.           In 2018,

RAICES commented on four proposed rules and regulations. Had RAICES been given the

opportunity to comment on the Rule, it would have done so.

       217.   Plaintiff Human Rights First operates one of the largest programs for pro bono

legal representation of refugees in the nation, working in partnership with volunteer lawyers at

leading law firms to provide legal representation, without charge, to thousands of indigent

asylum applicants. In addition to its work in partnership with volunteers from leading law firms,

HRF’s attorneys also represent asylum seekers in immigration-related proceedings, focusing on

asylum and other protection-based forms of immigration status. HRF serves asylum seekers

across the country, via its four offices located in Washington, D.C.; New York, New York;

Houston, Texas; and Los Angeles, California.

       218.   In addition to its asylum representation work, HRF advocates for policies that

protect and advance the rights of refugees and asylum seekers. HRF does this through a

combination of engaging policy makers, research and reporting, and endeavoring to hold the

United States government accountable to its international and domestic legal obligations.

       219.   The Rule will irreparably frustrate HRF’s mission to serve asylum seekers and

advocate for meaningful access to the asylum system. Because Defendants will summarily

remove asylum seekers before they reach the interior of the United States, HRF will likely face a



                                               50
           Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 51 of 64



drastic reduction in its client base. As a result of the higher standards imposed by the Rule,

Human Rights First will have to spend more time preparing each impacted client for the various

steps of their proceedings. Spending more time on cases affected by the Rule will, invariably,

mean the organization will assist fewer clients.

          220.   HRF’s partnerships with volunteer attorneys from leading law firms would suffer

as there would be fewer asylum seekers to represent. Further, HRF would need to expend

significant resources in developing new training materials and re-training its nationwide network

of pro bono attorneys to operate in a more complicated legal environment. Without these

sustainable relationships with law firm partners, HRF could not succeed in its mission of

operating one of the largest programs for pro bono legal representation of asylum seekers in the

nation.

          221.   HRF would also need to develop new training materials for pro bono attorneys.

To do so, the organization will need to divert staff and financial resources. For example, HRF

would have to analyze and interpret the Rule, determine which clients and attorneys need

specialized information or training on the impacts of the Rule.

          222.   This reduction in client base will, in turn, not only severely impair HRF’s ability

to fulfill its mission, but also its financial health. If HRF places fewer clients with law firms due

to the reduction in its client base and the more complicated nature of each case, HRF risks its

current level of law firm-derived funding, which is often tethered to the level of the law firm’s

engagement with HRF-mentored asylum cases. In addition, HRF will be at serious risk of losing

funding tied to the number of clients it serves each year in certain areas.

          223.   The Rule’s lack of notice-and-comment procedures also irreparably compromises

HRF’s ability to inform the Government of the substantial harms—both to the organization and



                                                   51
         Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 52 of 64



its clients—that the Rule creates. Commenting on rules and regulations is an important part of

HRF’s mission to improve the lives of migrants and to protect meaningful access to the asylum

system. HRF frequently comments on rules and regulations related to protecting the interests of

asylum seekers, and it often leads the efforts of civil society to analyze and advocate for

regulations that protect access to asylum. Had HRF been given the opportunity to comment on

the Rule before its issuance, it would have done so.

                                     CAUSES OF ACTION

                                            COUNT I

          (Substantive Violation of INA, 8 U.S.C. § 1158, and APA, 5 U.S.C. § 706)

       224.    Plaintiffs re-allege and incorporate by reference each of the foregoing paragraphs

as though fully set forth herein.

       225.    The APA requires courts to hold unlawful and set aside any agency action that is

“arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law;” “contrary

to constitutional right, power, privilege, or immunity;” “in excess of statutory jurisdiction,

authority, or limitations, or short of statutory right;” and “without observance of procedure

required by law.” 5 U.S.C. § 706(2)(A)-(C).

       226.    The INA guarantees “[a]ny alien who is physically present in the United States or

who arrives in the United States * * * irrespective of such alien’s status” the right to “apply for

asylum in accordance with this section or, where applicable, section 1225(b) of this title.” 8

U.S.C. § 1158(a)(1). The INA creates only two exceptions under which individuals can be

prevented from seeking asylum in the United States because they passed through a third country:

(1) where the United States has a bilateral or multilateral agreement with a “[s]afe third country”

in which the alien would have access to “a full and fair procedure” for determining her eligibility



                                                52
         Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 53 of 64



for asylum or equivalent protections, id. § 1158(a)(2)(A), or (2) the alien was “firmly resettled”

in another country before arriving in the United States, id. § 1158(b)(2)(A)(vi).

       227.    The Rule contravenes this statutory treatment of circumstances in which travel

through third countries may legally impact asylum eligibility. In particular, under the Rule’s

amendments to 8 C.F.R. §§ 208.13, 1208.13, an individual who “enters, attempts to enter, or

arrives in the United States across the southern land border on or after July 16, 2019, after

transiting through at least one country outside of the alien’s country of citizenship, nationality, or

last lawful habitual residence en route to the United States, shall be found ineligible for asylum,”

unless she can show that one of three narrow exceptions applies.

       228.    In promulgating and implementing the Rule, Defendants have acted contrary to

the INA. By purporting to deny asylum eligibility to those specifically entitled to seek it, the

Rule violates the INA.

       229.    The Rule exceeds the Attorney General’s scope of delegated authority to establish

“consistent” limitations and conditions on asylum eligibility and consideration of applications

under 8 U.S.C § 1158(b)(2)(C), (d)(5)(B). In addition to contravening the plain terms of 8

U.S.C. § 1158(a)(1), the Rule introduces a limit on the availability of asylum that is dramatically

different from the other restrictions on asylum specified in the statute itself.

       230.    Through their actions described in this Complaint, Defendants have violated the

substantive requirements of the INA and APA. Defendants’ violations inflict immediate and

irreparable harm upon Plaintiffs, both by preventing Individual Plaintiffs from accessing the

asylum procedures to which they are entitled and severely compromising the number of asylum-

seekers that CAIR Coalition, RAICES, and HRF may serve consistent with their organizational

missions.



                                                  53
         Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 54 of 64



       231.    Plaintiffs lack adequate remedies at law to address Defendants’ violations and

seek declaratory and injunctive relief restraining Defendants from continuing to engage in the

unlawful policy and practices alleged herein.

                                            COUNT II

        (Violation of APA, 5 U.S.C. § 706, through Arbitrary and Capricious Action)

       232.    Plaintiffs re-allege and incorporate by reference each of the foregoing paragraphs

as though fully set forth herein.

       233.    The APA requires courts to hold unlawful and set aside any agency action that is

“arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law.” 5 U.S.C.

§ 706(2)(A).

       234.    In promulgating the Rule, Defendants have acted arbitrarily and capriciously.

The Rule’s proffered rationale is that an alien’s failure to seek asylum in a third country through

which that alien transited on her way to the United States reveals that the alien is not

“legitimately seeking urgent protection from persecution or torture” and therefore misuses the

United States’ immigration system. 84 Fed. Reg. at 33,381. This rationale is unsupported by the

evidence.

       235.    There is also no evidence that this Rule will “reduc[e] human smuggling” by

discouraging aliens from seeking asylum in the United States, 84 Fed. Reg. at 33,381, given the

increasingly dangerous conditions most of these aliens are fleeing.

       236.    The Rule lacks any reasoned basis for determining that a third country is

sufficiently safe and asylum relief is sufficiently available, such that failure to seek asylum there

reveals a meritless asylum claim. The Rule’s conclusion that Mexico and “all seven countries in




                                                 54
         Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 55 of 64



Central America” offer adequate protections to asylum seekers is unsupported by the evidence.

84 Fed. Reg. at 33,839-40.

       237.    By failing to create an exception for unaccompanied minors, the Rule also

eviscerates Congressional policy that unaccompanied minors are exempt from the safe third

country bar. 8 U.S.C. §§ 279, 1158(a)(2)(E). The Rule lacks any acknowledgement of this

deviation from existing policy, fails to offer meaningful justifications for such change, creates

internal inconsistencies in the law, and does not represent reasoned agency action.

       238.    Through their actions described in this Complaint, Defendants have acted

arbitrarily and capriciously in violation of the APA.

       239.    Defendants’ violations inflict immediate and irreparable harm upon all Plaintiffs,

including by denying Individual Plaintiffs the opportunity to seek asylum in the United States

and placing them at risk of deportation to countries in which they are endangered.

       240.    Plaintiffs lack adequate remedies at law to address Defendants’ violations and

seek declaratory and injunctive relief restraining Defendants from continuing to engage in the

unlawful policy and practices alleged herein.

                                           COUNT III

 (Violation of APA, 5 U.S.C. § 553, for Failure to Follow Notice and Comment Procedures)

       241.    Plaintiffs re-allege and incorporate by reference each of the foregoing paragraphs

as though fully set forth herein.

       242.    The APA requires courts to hold unlawful and set aside any agency action taken

“without observance of procedure required by law.” 5 U.S.C. § 706(2)(D).

       243.    The APA requires that agencies follow public notice-and-comment rulemaking

procedures before promulgating regulations. See 5 U.S.C. § 553(b), (c). Defendants failed to



                                                55
         Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 56 of 64



provide notice and an opportunity for public comment on the Rule in any manner prior to its

issuance on July 16, 2019.

       244.    The APA also presumptively requires that a substantive rule be published “not

less than 30 days before its effective date.” Id. § 553(d). Defendants failed to publish the Rule,

which affects asylum seekers’ substantive rights under the INA, as required by this provision.

       245.    The APA’s notice and comment exceptions related to “foreign affairs function[s]

of the United States,” id. § 553(a)(1), and “good cause,” id. § 553(d)(3), are inapplicable.

       246.    Had the Rule been the subject of advance publication and notice-and-comment

rulemaking under the APA, CAIR Coalition, HRF, and RAICES would have submitted

comments opposing its adoption.

       247.    Defendants’ violations inflict immediate and irreparable harm upon Plaintiffs,

which lack adequate remedies at law and seek declaratory and injunctive relief restraining

Defendants from continuing to engage in the unlawful policy and practices alleged herein.

                                           COUNT IV

                              (Due Process, U.S. Const. amend. V)

       248.    Plaintiffs re-allege and incorporate by reference each of the foregoing paragraphs

as though fully set forth herein.

       249.    “[T]he Due Process Clause applies to all ‘persons’ within the United States,

including aliens, whether their presence here is lawful, unlawful, temporary, or permanent.”

Zadvydas v. Davis, 533 U.S. 678, 693 (2001) (internal quotation omitted); see also Shaughnessy

v. United States ex rel. Mezei, 345 U.S. 206, 212 (1953) (“[A]liens who have once passed

through our gates, even illegally, may be expelled only after proceedings conforming to . . . due




                                                56
         Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 57 of 64



process of law.”). The Due Process Clause applies to Individual Plaintiffs and the other putative

class members in the United States.

       250.     Under the Rule, Defendants will deny asylum seekers access to the asylum

procedures to which they are entitled under the INA. See 8 U.S.C. § 1158(a)(1).

       251.    In addition, “an alien who has unlawfully entered the United States has a Fifth

Amendment procedural due process right to petition the government for political asylum and a

statutory procedural due process right to a meaningful or fair evidentiary hearing.” Gutierrez-

Rogue v. I.N.S., 954 F.2d 769, 772-73 (D.C. Cir. 1992) (citing Maldonado-Perez v. I.N.S., 865

F.2d 328, 332-33 (D.C. Cir. 1989)) (internal quotation marks and brackets omitted).

       252.    As discussed above, migrants have been afforded no process or access to fair

hearings through which to seek asylum under the Rule, due to the policy’s categorical denial of

eligibility for migrants who entered through the southern border outside designated ports of

entry. Denying them any ability to be meaningfully heard on their asylum claims violates their

Fifth Amendment rights to due process.

       253.    In addition, because minor children are derivatively eligible to receive asylum

where their parents obtain asylum, see 8 U.S.C. § 1158(b)(3)(A), Defendants’ violations of the

due process rights of adult asylum seekers violate the due process rights of derivatively eligible

children in the putative class.

       254.    Defendants’ due process violations inflict immediate and irreparable harm upon

asylum seekers, including Individual Plaintiffs, by denying them the opportunity to seek asylum

in the United States based on an asylum bar that is impermissible under the INA. These

violations of law also inflict immediate and irreparable harm on RAICES, CAIR Coalition, and




                                               57
         Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 58 of 64



HRF by compromising the services they can provide to clients and forcing them to drastically

divert or redesign their programs.

       255.    Plaintiffs lack adequate remedies at law to address Defendants’ violations and

seek declaratory and injunctive relief restraining Defendants from continuing to engage in the

unlawful policy and practices alleged herein.

                                           COUNT V

       (Substantive Violation of Trafficking Victims Protection Reauthorization Act,
                    8 U.S.C. § 1158(b)(3)(C), and APA, 5 U.S.C. § 706)

       256.    Plaintiffs re-allege and incorporate by reference each of the foregoing paragraphs

as though fully set forth herein.

       257.    As noted above, the TVPRA amended the INA to provide specific asylum

protections for children. See 8 U.S.C. §§ 1158(b)(3)(C), 1232.

       258.    Pursuant to the TVPRA, unaccompanied children who enter the United States

without inspection generally are not subject to expedited removal.       Id. § 1232(a)(5)(D)(i).

Instead, unaccompanied minors are placed in regular removal proceedings before Immigration

Judges without having to pass credible fear interviews. Id.

       259.    Prior to reaching an Immigration Judge, an unaccompanied child presents her

application for asylum to an asylum officer, who has “initial jurisdiction over any asylum

application filed by an unaccompanied alien child” and can accept the application even for an

unaccompanied child in removal proceedings. Id. § 1158(b)(3)(C). If the asylum officer denies

the application, then the unaccompanied minor generally proceeds to present her application to

the Immigration Judge, in addition to any other claims she may have for withholding of removal

or CAT relief. See id. § 1232(a)(5)(D).




                                                58
        Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 59 of 64



       260.    As addressed above, this sequencing, which permits unaccompanied minors to

present asylum claims to asylum officers in the first instance, is designed to further the TVPRA’s

fundamental objective of protecting children. It ensures that when unaccompanied minors first

recount the difficult and potentially traumatic facts underlying their asylum claims, they do so in

a non-adversarial setting, rather than in the context of trial proceedings including cross-

examination by DHS attorneys.

       261.    The Rule is directly contrary to the TVPRA. Asylum officers would be forced to

issue negative findings on the asylum claims of unaccompanied children. The Rule contravenes

the specific process that Congress set up for unaccompanied children.

       262.    Through their actions described in this Complaint, Defendants have violated the

substantive requirements of the TVPRA and APA. Defendants’ violations inflict immediate and

irreparable harm upon unaccompanied children by depriving them of the opportunity to seek

asylum under the laws of the United States, especially the procedural protections created in the

TVPRA, and by exposing them to the risk of forcible return to dangerous conditions in their

home countries. Defendants’ violations also inflict immediate and irreparable harm on RAICES,

CAIR Coalition, and HRF by compromising the services they can provide to unaccompanied

minor clients and forcing them to drastically divert or redesign their children’s services

programs.

       263.    Plaintiffs lack adequate remedies at law to address Defendants’ violations and

seek declaratory and injunctive relief restraining Defendants from continuing to engage in the

unlawful policy and practices alleged herein.




                                                59
         Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 60 of 64



                                            COUNT VI

                                    (Mandamus, 28 U.S.C. § 1361)

       264.      Plaintiffs re-allege and incorporate by reference each of the foregoing paragraphs

as though fully set forth herein.

       265.      Federal district courts have “original jurisdiction of any action in the nature of

mandamus to compel an officer or employee of the United States, or any agency thereof to

perform a duty owed to the plaintiff.” 28 U.S.C. § 1361.

       266.      A plaintiff may obtain a writ of mandamus where she has a clear right to the relief

sought, the defendant has a duty to do the act in question, and no other adequate remedy is

available. Id.

       267.      Under the INA, “[a]ny alien who is physically present in the United States or who

arrives in the United States * * * irrespective of such alien’s status” has the right to “apply for

asylum in accordance with this section or, where applicable, section 1225(b) of this title.” 8

U.S.C. § 1158(a)(1). Statutory exceptions to this presumptive asylum eligibility exist with

respect to third country travel only (1) where the United States has a bilateral or multilateral

agreement with a “[s]afe third country” in which the alien would have access to “a full and fair

procedure” for determining her eligibility for asylum or equivalent protections, id.

§ 1158(a)(2)(A), or (2) the alien was “firmly resettled” in another country before arriving in the

United States, id. § 1158(b)(2)(A)(vi). The United States’ only “safe third country” agreement is

with Canada.

       268.      Defendants have a clear, nondiscretionary duty to permit noncitizens, including

Individual Plaintiffs, to make asylum claims regardless of their decision not to apply for asylum

in third countries, consistent with the foregoing statutory scheme.         The Rule contravenes



                                                 60
          Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 61 of 64



Defendants’ duty to permit such asylum claims in the United States based on impermissible

extra-statutory criteria.

        269.    Plaintiffs have exhausted all other avenues of relief and have no other adequate

remedy.

        270.    Defendants’ violations inflict immediate and irreparable harm upon Plaintiffs.

        271.    Individual Plaintiffs have a clear right to the asylum procedures set forth in 8

U.S.C. § 1158, and RAICES, CAIR Coalition, and HRF have a clear right to carry out their

organizational programs and missions in the context of the lawful administration of asylum

procedures set forth in the INA. Defendants have a non-discretionary duty to provide access to

those procedures. There is no adequate remedy to Defendants’ violation, apart from ordering

Defendants to carry out their duties to permit asylum claims consistent with the terms of the

INA. Plaintiffs accordingly are entitled to mandamus relief.

                                           COUNT VII

                                    (Declaratory Judgment)

        272.    Plaintiffs re-allege and incorporate by reference each of the foregoing paragraphs

as though fully set forth herein.

        273.    Pursuant to the Declaratory Judgment Act, 28 U.S.C. §§ 2201-2202, and Federal

Rule of Civil Procedure 57, this Court is empowered to issue a declaratory judgment regarding

the Rule’s lawfulness under the Constitution, the INA, the APA, and other federal statutes.

        274.    An “actual, ripe controversy” exists between the parties concerning Defendants’

authority to issue the Rule and to implement and enforce its terms nationwide consistent with

U.S. law. Committee on Oversight & Gov’t Reform v. Holder, 979 F. Supp. 2d 1, 22 (D.D.C.




                                                61
        Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 62 of 64



2013). The Court has subject matter jurisdiction to adjudicate that dispute pursuant to 28 U.S.C.

§ 1331. See id.

       275.   Plaintiffs seek a declaratory judgment from the Court that the Rule is inconsistent

with and unlawful under the Constitution and laws of the United States.

                                   PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully pray that the Court:

              a.      Declare that the Rule is unauthorized by, and contrary to, the Constitution

                      and laws of the United States;

              b.      Issue an order vacating the Rule and permanently enjoining Defendants

                      from implementing or enforcing the Rule across the nation;

              c.      Issue a writ of mandamus requiring Defendants’ compliance with the

                      terms of the INA, including the requirement that they provide asylum

                      seekers with appropriate access to credible fear interviews to pursue their

                      asylum claims; and

              d.      Award damages, attorneys’ fees, and any such additional relief as the

                      interests of justice may require.




                                                62
        Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 63 of 64



Dated: August 6, 2019                                Respectfully submitted,

                                                     HOGAN LOVELLS US LLP

                                                     /s/ Justin W. Bernick

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                                                63
           Case 1:19-cv-02117-TJK Document 37 Filed 08/18/19 Page 64 of 64



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


CAPITAL AREA IMMIGRANTS’ RIGHTS
COALITION, et al.,

                          Plaintiffs,

      v.
                                                        Civil Action No. 1:19-cv-02117-TJK
DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,

                          Defendants.


                                CERTIFICATE OF SERVICE

       I hereby certify that on August 18, 2019, I electronically filed the foregoing document

pursuant to the Court’s Memorandum Opinion and Order dated August 18, 2019, Dkt. 36, with

the Clerk of the Court for the United States District Court for the District of Columbia by using

the CM/ECF system. Counsel in the case are registered CM/ECF users, and service will be

accomplished by the CM/ECF system.


August 18, 2019                                     Respectfully submitted,

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